Case 23-13131-CMG             Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                           Desc Main
                                    Document     Page 1 of 102




  COLE SCHOTZ P.C.                                          KIRKLAND & ELLIS LLP
  Court Plaza North                                         KIRKLAND & ELLIS INTERNATIONAL LLP
  25 Main Street                                            601 Lexington Avenue
  P.O. Box 800                                              New York, New York 10022
  Hackensack, New Jersey 07602-0800                         (212) 446-4800
  (201) 489-3000                                            (212) 446-4900 Facsimile
  (201) 489-1536 Facsimile                                  Joshua A. Sussberg, P.C. (admitted pro hac vice)
  Michael D. Sirota, Esq.                                   joshua.sussberg@kirkland.com
  msirota@coleschotz.com                                    Christopher T. Greco, P.C. (admitted pro hac vice)
  Felice R. Yudkin, Esq.                                    christopher.greco@kirkland.com
  fyudkin@coleschotz.com                                    Rachael M. Bentley (admitted pro hac vice)
  Rebecca W. Hollander, Esq.                                rachael.bentley@kirkland.com
  rhollander@coleschotz.com
                                                            -and-

  Proposed Counsel to Debtors                               KIRKLAND & ELLIS LLP
                                                            KIRKLAND & ELLIS INTERNATIONAL LLP
                                                            300 North LaSalle Street
                                                            Chicago, Illinois 60654
                                                            (312) 862-2000
                                                            (312) 862-2200 Facsimile
                                                            Alexandra Schwarzman, P.C. (admitted pro hac vice)
                                                            alexandra.schwarzman@kirkland.com

                                                            Proposed Counsel to Debtors

                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NEW JERSEY


 In re:                                                      Chapter 11

 DAVID'S BRIDAL, LLC, et al.,                                Case No. 23-13131 (CMG)

                                    Debtors.1                (Jointly Administered)


                   DEBTORS’ APPLICATION FOR ENTRY
               OF AN ORDER AUTHORIZING THE RETENTION
             AND EMPLOYMENT OF KIRKLAND & ELLIS LLP AND
       KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR THE
     DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 17, 2023



 1 The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
     number, are: David’s Bridal, LLC (4563); DBI Midco, Inc. (7392); DBI Holdco II, Inc. (7512); DBI Investors,
     Inc. (3857); David’s Bridal Canada, Inc. (N/A); and Blueprint Registry, LLC (2335). The location of debtor
     David’s Bridal, LLC’s principal place of business and the debtors’ service address in these chapter 11 cases is
     1001 Washington Street, Conshohocken, Pennsylvania 19428..
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                  Desc Main
                                Document     Page 2 of 102



        The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

 this application (this “Application”) for the entry of an order (the “Order”), substantially in the

 form attached hereto as Exhibit A, authorizing the Debtors to retain and employ Kirkland & Ellis

 LLP and Kirkland & Ellis International LLP (collectively, “Kirkland”) as their attorneys

 effective as of the Petition Date (as defined herein). In support of this Application, the Debtors

 submit the declaration of Christopher T. Greco, the president of Christopher T. Greco, P.C., a

 partner of Kirkland & Ellis LLP, and a partner of Kirkland & Ellis International LLP (the “Greco

 Declaration”), which is attached hereto as Exhibit B and the declaration of James Marcum, the

 Chief Executive Officer of David’s Bridal, LLC, which is attached hereto as Exhibit C

 (the “Marcum Declaration”). In further support of this Application, the Debtors respectfully state

 as follows.

                                       Jurisdiction and Venue

        1.      The United States Bankruptcy Court for the District of New Jersey (the “Court”)

 has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This matter is a core

 proceeding within the meaning of 28 U.S.C. § 157(b)(2) and the Debtors confirm their consent to

 the entry of a final order by the Court in connection with this Application to the extent that it is

 later determined that the Court, absent consent of the parties, cannot enter final orders or judgments

 in connection herewith consistent with Article III of the United States Constitution.

        2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The bases for the relief requested herein are sections 327(a) and 330 of title 11 of

 the United States Code (the “Bankruptcy Code”), rules 2014(a) and 2016 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”), and rules 2014-1 and 2016-1 of the Local

 Bankruptcy Rules for the District of New Jersey (the “Local Rules”).



                                                   2
Case 23-13131-CMG             Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                              Desc Main
                                    Document     Page 3 of 102



                                                    Background

         4.       On April 17, 2023 (the “Petition Date”), each of the Debtors filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are operating their

 businesses and managing their properties as debtors in possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code. On April 17, 2023, the Court entered an order [Docket No. 69]

 authorizing the joint administration and procedural consolidation of these chapter 11 cases

 pursuant to Bankruptcy Rule 1015(b). No request for the appointment of a trustee or examiner has

 been made in these chapter 11 cases. On April 28, 2023, the United States Trustee for the District

 of New Jersey (the “U.S. Trustee”) appointed an official committee of unsecured creditors

 pursuant to section 1102 of the Bankruptcy Code (the “Committee”) [Docket No. 150].

         5.     A description of the Debtors’ business, the reasons for commencing the chapter 11

 cases, and the relief sought from the Court to allow for a smooth transition into chapter 11 are set

 forth in the Declaration of James Marcum, Chief Executive Officer of the Debtors, in Support of

 Debtors’ Chapter 11 Petitions and First Day Motions, filed on April 17, 2023 [Docket No. 21],

 incorporated herein by reference.

                                                 Relief Requested

         6.       By this Application, the Debtors seek entry of the Order authorizing the retention

 and employment of Kirkland as their attorneys in accordance with the terms and conditions set

 forth in that certain engagement letter between the Debtors and Kirkland effective as of

 October 29, 2022 (the “Engagement Letter”), a copy of which is attached hereto as Exhibit 1 to

 the Order and incorporated herein by reference.2


 2   The Debtors also seek to employ and retain Cole Schotz P.C. (“Cole Schotz”) as co-counsel with Kirkland in
     connection with these chapter 11 cases. Kirkland will coordinate with Cole Schotz regarding their respective
     responsibilities in these chapter 11 cases to avoid any duplication of effort and provide services to the Debtors in
     the most efficient and cost-effective manner.


                                                           3
Case 23-13131-CMG             Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                              Desc Main
                                    Document     Page 4 of 102



                                           Kirkland’s Qualifications

         7.       The Debtors seek to retain Kirkland because of Kirkland’s recognized expertise and

 extensive experience and knowledge in the field of debtors’ protections, creditors’ rights, and

 business reorganizations under chapter 11 of the Bankruptcy Code.

         8.       Kirkland has been actively involved in major chapter 11 cases and has represented

 debtors in many cases in this district and in others in the Third Circuit, including, among others:

 In re BlockFi Inc., No. 22-19361 (MBK) (Bankr. D.N.J. Feb. 1, 2023); In re Carestream Health,

 Inc., No. 22-10778 (JKS) (Bankr. D. Del. Oct. 7, 2022); In re Riverbed Technology, Inc., No. 21-

 11503 (CTG) (Bankr. D. Del. Dec. 8, 2021); In re Alex and Ani, LLC, No. 21-10918 (CTG)

 (Bankr. D. Del. July 15, 2021); In re Highpoint Resources Corp., No. 21-10565 (CSS)

 (Bankr. D. Del. Apr. 13, 2021); In re Destination Maternity Corp., No. 19-12256 (BLS)

 (Bankr. D. Del. Nov. 20, 2019).3

         9.       In preparing for its representation of the Debtors in these chapter 11 cases, Kirkland

 has become familiar with the Debtors’ business and many of the potential legal issues that may

 arise in the context of these chapter 11 cases.                 The Debtors believe that Kirkland is both

 well-qualified and uniquely able to represent the Debtors in these chapter 11 cases in an efficient

 and timely manner.

                                             Services to be Provided

         10.      Subject to further order of the Court, and consistent with the Engagement Letter,

 the Debtors request the retention and employment of Kirkland to render the following legal

 services:




 3   Because of the voluminous nature of the orders cited in this Application, they are not attached to this Application.
     Copies of these orders are available upon request to Kirkland.


                                                           4
Case 23-13131-CMG        Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                               Document     Page 5 of 102



               a.      advising the Debtors with respect to their powers and duties as debtors in
                       possession in the continued management and operation of their businesses
                       and properties;

               b.      advising and consulting on the conduct of these chapter 11 cases, including
                       all of the legal and administrative requirements of operating in chapter 11;

               c.      attending meetings and negotiating with representatives of creditors and
                       other parties in interest;

               d.      taking all necessary actions to protect and preserve the Debtors’ estates,
                       including prosecuting actions on the Debtors’ behalf, defending any action
                       commenced against the Debtors, and representing the Debtors in
                       negotiations concerning litigation in which the Debtors are involved,
                       including objections to claims filed against the Debtors’ estates;

               e.      preparing pleadings in connection with these chapter 11 cases, including
                       motions, applications, answers, orders, reports, and papers necessary or
                       otherwise beneficial to the administration of the Debtors’ estates;

               f.      representing the Debtors in connection with obtaining authority to continue
                       using cash collateral and postpetition financing;

               g.      advising the Debtors in connection with any potential sale of assets;

               h.      appearing before the Court and any appellate courts to represent the interests
                       of the Debtors’ estates;

               i.      advising the Debtors regarding tax matters;

               j.      taking any necessary action on behalf of the Debtors to negotiate, prepare,
                       and obtain approval of a disclosure statement and confirmation of a chapter
                       11 plan and all documents related thereto; and

               k.      performing all other necessary legal services for the Debtors in connection
                       with the prosecution of these chapter 11 cases, including: (i) analyzing the
                       Debtors’ leases and contracts and the assumption and assignment or
                       rejection thereof; (ii) analyzing the validity of liens against the Debtors’
                       assets; and (iii) advising the Debtors on corporate and litigation matters.

                                   Professional Compensation

        11.    Kirkland intends to apply for compensation for professional services rendered on

 an hourly basis and reimbursement of expenses incurred in connection with these chapter 11 cases,

 subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy


                                                 5
Case 23-13131-CMG              Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                                Desc Main
                                     Document     Page 6 of 102



 Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of

 the Court. The hourly rates and corresponding rate structure Kirkland will use in these chapter 11

 cases are the same as the hourly rates and corresponding rate structure that Kirkland uses in other

 restructuring matters, as well as similar complex corporate, securities, and litigation matters

 whether in court or otherwise, regardless of whether a fee application is required. These rates and

 the rate structure reflect that such restructuring and other complex matters typically are national in

 scope and involve great complexity, high stakes, and severe time pressures.

         12.       Kirkland operates in a national marketplace for legal services in which rates are

 driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

 firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.

         13.       Kirkland’s current hourly rates for matters related to these chapter 11 cases range

 as follows:4

                                 Billing Category5                     U.S. Range
                                      Partners                        $1,195-$2,245
                                     Of Counsel                        $820-$2,125
                                     Associates                        $685-$1,395
                                 Paraprofessionals                      $295-$575

         14.       Kirkland’s hourly rates are set at a level designed to compensate Kirkland fairly for

 the work of its attorneys and paraprofessionals and to cover fixed and routine expenses. Hourly



 4   For professionals and paraprofessionals residing outside of the U.S., hourly rates are billed in the applicable
     currency. When billing a U.S. entity, such foreign rates are converted into U.S. dollars at the then applicable
     conversion rate. After converting these foreign rates into U.S. dollars, it is possible that certain rates may exceed
     the billing rates listed in the chart herein. While the rate ranges provided for in this Application may change if
     an individual leaves or joins Kirkland, if any such individual’s billing rate falls outside the ranges disclosed above,
     Kirkland does not intend to update the ranges for such circumstances.
 5   Although Kirkland does not anticipate using contract attorneys during these chapter 11 cases, in the unlikely event
     that it becomes necessary to use contract attorneys, Kirkland will not charge a markup to the Debtors with respect
     to fees billed by such attorneys. Any contract attorneys or non-attorneys who are employed by the Debtors in
     connection with work performed by Kirkland will be subject to conflict checks and disclosures in accordance
     with the requirements of the Bankruptcy Code.


                                                             6
Case 23-13131-CMG             Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                              Desc Main
                                    Document     Page 7 of 102



 rates vary with the experience and seniority of the individuals assigned. These hourly rates are

 subject to periodic adjustments to reflect economic and other conditions. 6

         15.      Kirkland represented the Debtors during the six-month period before the Petition

 Date, using the hourly rates listed above and in the Greco Declaration. Moreover, these hourly

 rates are consistent with the rates that Kirkland charges other comparable chapter 11 clients,

 regardless of the location of the chapter 11 case.

         16.      The rate structure provided by Kirkland is appropriate and not significantly

 different from (a) the rates that Kirkland charges for other similar types of representations or

 (b) the rates that other comparable counsel would charge to do work substantially similar to the

 work Kirkland will perform in these chapter 11 cases.

         17.      It is Kirkland’s policy to charge its clients in all areas of practice for identifiable,

 non-overhead expenses incurred in connection with the client’s case that would not have been

 incurred except for representation of that particular client. It is also Kirkland’s policy to charge

 its clients only the amount actually incurred by Kirkland in connection with such items. Examples

 of such expenses include postage, overnight mail, courier delivery, transportation, overtime

 expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.

         18.      To ensure compliance with all applicable deadlines in these chapter 11 cases, from

 time to time Kirkland utilizes the services of overtime secretaries. Kirkland charges fees for these

 services pursuant to the Engagement Letter, which permits Kirkland to bill the Debtors for


 6   For example, like many of its peer law firms, Kirkland typically increases the hourly billing rate of attorneys and
     paraprofessionals twice a year in the form of: (i) step increases historically awarded in the ordinary course on the
     basis of advancing seniority and promotion and (ii) periodic increases within each attorney’s and
     paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the term is
     used in the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed
     Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013). As set forth in
     the Order, Kirkland will provide ten business-days’ notice to the Debtors, the U.S. Trustee, and any official
     committee before implementing any periodic increases, and shall file any such notice with the Court.


                                                           7
Case 23-13131-CMG              Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                              Desc Main
                                     Document     Page 8 of 102



 overtime secretarial charges that arise out of business necessity.                          In addition, Kirkland

 professionals also may charge their overtime meals and overtime transportation to the Debtors

 consistent with prepetition practices.

         19.       Kirkland currently charges the Debtors $0.16 per page for standard duplication in

 its offices in the United States. Notwithstanding the foregoing and consistent with the Local Rules,

 Kirkland will charge no more than $0.10 per page for standard duplication services in these chapter

 11 cases. Kirkland does not charge its clients for incoming facsimile transmissions. Kirkland has

 negotiated a discounted rate for Westlaw computer-assisted legal research. Computer-assisted

 legal research is used whenever the researcher determines that using Westlaw is more cost effective

 than using traditional (non-computer assisted legal research) techniques.

                        Compensation Received by Kirkland from the Debtors

         20.       Per the terms of the Engagement Letter, on November 2, 2022, the Debtors paid

 $200,000 to Kirkland, which, as stated in the Engagement Letter, constituted an “advance payment

 retainer” as defined in Rule 1.15(c) of the Illinois Rules of Professional Conduct and Dowling v.

 Chicago Options Assoc., Inc., 875 N.E.2d 1012, 1018 (Ill. 2007). Subsequently, the Debtors paid

 to Kirkland additional advance payment retainer totaling $1,805,331.68 in the aggregate. As stated

 in the Engagement Letter, any advance payment retainer is earned by Kirkland upon receipt, any

 advance payment retainer becomes the property of Kirkland upon receipt, the Debtors no longer

 have a property interest in any advance payment retainer upon Kirkland’s receipt, any advance

 payment retainer will be placed in Kirkland’s general account and will not be held in a client trust

 account, and the Debtors will not earn any interest on any advance payment retainer. 7


 7   The Engagement Letter provides that Kirkland may continue to hold any remaining prepetition advance payment
     retainer during the pendency of a chapter 11 case rather than applying such advance payment retainer to
     postpetition fees and expenses. Kirkland evaluates whether to retain any remaining prepetition advance payment
     retainer on a case-by-case basis. In this particular case, Kirkland has elected not to hold any remaining prepetition

                                                            8
Case 23-13131-CMG           Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                           Desc Main
                                  Document     Page 9 of 102



        21.      Pursuant to Bankruptcy Rule 2016(b), Kirkland has neither shared nor agreed to

 share (a) any compensation it has received or may receive with another party or person, other than

 with the partners, associates, and contract attorneys associated with Kirkland or (b) any

 compensation another person or party has received or may receive.

        22.      As of the Petition Date, the Debtors did not owe Kirkland any amounts for legal

 services rendered before the Petition Date. Although certain expenses and fees may have been

 incurred but not yet applied to Kirkland’s advance payment retainer, the amount of Kirkland’s

 advance payment retainer always exceeded any amounts listed or to be listed on statements

 describing services rendered and expenses incurred (on a “rates times hours” and “dates of

 expenses incurred” basis) after February 22, 2023.

                                       Kirkland’s Disinterestedness

        23.      To the best of the Debtors’ knowledge and as disclosed herein and in the Greco

 Declaration, (a) Kirkland is a “disinterested person” within the meaning of section 101(14) of the

 Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code, and does not hold or

 represent an interest adverse to the Debtors’ estates and (b) Kirkland has no connection to the

 Debtors, their creditors, or other parties in interest, except as may be disclosed in the Greco

 Declaration.

        24.      Kirkland will review its files periodically during the pendency of these chapter 11

 cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

 relevant facts or relationships are discovered or arise, Kirkland will use reasonable efforts to



    advance payment retainer but, instead, will apply any remaining advance payment retainer to postpetition fees
    and expenses as such fees and expenses are allowed by the Court. Notwithstanding the foregoing, Kirkland will
    reserve amounts from the prepetition advance payment retainer that would otherwise be applied toward payment
    of postpetition fees and expenses as is necessary and appropriate to compensate and reimburse Kirkland for fees
    or expenses incurred on or prior to the Petition Date consistent with its ordinary course billing practices.


                                                        9
Case 23-13131-CMG          Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45               Desc Main
                                 Document    Page 10 of 102



 identify such further developments and will promptly file a supplemental declaration, as required

 by Bankruptcy Rule 2014(a).

                                       Supporting Authority

        25.     The Debtors seek retention of Kirkland as their attorneys pursuant to section 327(a)

 of the Bankruptcy Code, which provides that a debtor, subject to Court approval:

                [M]ay employ one or more attorneys, accountants, appraisers,
                auctioneers, or other professional persons, that do not hold or
                represent an interest adverse to the estate, and that are disinterested
                persons, to represent or assist the [debtor] in carrying out the
                [debtor]’s duties under this title.

 11 U.S.C. § 327(a).

        26.     Bankruptcy Rule 2014(a) requires that an application for retention include:

                [S]pecific facts showing the necessity for the employment, the name
                of the [firm] to be employed, the reasons for the selection, the
                professional services to be rendered, any proposed arrangement for
                compensation, and, to the best of the applicant’s knowledge, all of
                the [firm’s] connections with the debtor, creditors, any other party
                in interest, their respective attorneys and accountants, the United
                States trustee, or any person employed in the office of the United
                States trustee.

 Fed. R. Bankr. P. 2014.

        27.     The Debtors submit that for all the reasons stated above and in the Greco

 Declaration, the retention and employment of Kirkland as counsel to the Debtors is warranted.

 Further, as stated in the Greco Declaration, Kirkland is a “disinterested person” within the meaning

 of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the Bankruptcy Code,

 and does not hold or represent an interest adverse to the Debtors’ estates and has no connection to

 the Debtors, their creditors, or other parties in interest, except as may be disclosed in the Greco

 Declaration.

                                               Notice


                                                  10
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                Desc Main
                                Document    Page 11 of 102



        28.     The Debtors have provided notice of this Application to the following parties or

 their respective counsel: (a) the U.S. Trustee, (b) the Committee, (c) the United States Attorney’s

 Office for the District of New Jersey, (d) the Internal Revenue Service, (e) the attorneys general

 in the states where the Debtors conduct their business operations; and (f) any party that has

 requested notice pursuant to Bankruptcy Rule 2002. A copy of this Application is also available

 on     the     website      of       the    Debtors’     notice     and     claims    agent      at

 http://omniagentsolutions.com/davidsbridal. In light of the nature of the relief requested, the

 Debtors submit that no other or further notice is required.

                                            No Prior Request

        29.     No prior request for the relief sought in this Application has been made to this or

 any other court.



                                  [Remainder of Page Intentionally Left Blank]




                                                   11
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45             Desc Main
                                Document    Page 12 of 102



        WHEREFORE, the Debtors respectfully request that the Court enter the Order,

 substantially in the form attached hereto as Exhibit A, granting the relief requested herein and

 granting such other relief as is just and proper.

  Dated: May 16, 2023                                     /s/ James Marcum
         Trenton, New Jersey                              James Marcum
                                                          David’s Bridal, LLC
                                                          Chief Executive Officer




                                                     12
Case 23-13131-CMG   Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                          Document    Page 13 of 102



                                  EXHIBIT A

                                Proposed Order
Case 23-13131-CMG               Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                            Desc Main
                                      Document    Page 14 of 102



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-2(c)
     COLE SCHOTZ P.C.
     Court Plaza North
     25 Main Street
     P.O. Box 800
     Hackensack, New Jersey 07602-0800
     (201) 489-3000
     (201) 489-1536 Facsimile
     Michael D. Sirota, Esq.
     msirota@coleschotz.com
     Felice R. Yudkin, Esq.
     fyudkin@coleschotz.com
     Rebecca W. Hollander, Esq.
     rhollander@coleschotz.com

     KIRKLAND & ELLIS LLP
     KIRKLAND & ELLIS INTERNATIONAL LLP
     601 Lexington Avenue
     New York, New York 10022
     (212) 446-4800
     (212) 446-4900 Facsimile
     Joshua A. Sussberg, P.C. (admitted pro hac vice)
     joshua.sussberg@kirkland.com
     Christopher T. Greco, P.C. (admitted pro hac vice)
     christopher.greco@kirkland.com
     Rachael M. Bentley (admitted pro hac vice)
     rachael.bentley@kirkland.com
     -and-
     KIRKLAND & ELLIS LLP
     KIRKLAND & ELLIS INTERNATIONAL LLP
     300 North LaSalle Street
     Chicago, Illinois 60654
     (312) 862-2000
     (312) 862-2200 Facsimile
     Alexandra Schwarzman, P.C. (admitted pro hac vice)
     alexandra.schwarzman@kirkland.com

     Proposed Counsel to Debtors

                                                                     Chapter 11
     In re:
                                                                     Case No. 23-13131 (CMG)
     DAVID’S BRIDAL, LLC, et al.,
                                                                     Judge: Christine M. Gravelle
                                                   1
                                        Debtors.
                                                                     (Jointly Administered)


 1    The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
       number, are: David’s Bridal, LLC (4563); DBI Midco, Inc. (7392); DBI Holdco II, Inc. (7512); DBI Investors,
       Inc. (3857); David’s Bridal Canada, Inc. (N/A); and Blueprint Registry, LLC (2335). The location of debtor
Case 23-13131-CMG           Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                           Desc Main
                                  Document    Page 15 of 102
 (Page 2)
 Debtors:                 DAVID’S BRIDAL, LLC., et al.
 Case No.                 23-13131 (CMG)
 Caption of Order:        ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
                          KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
                          INTERNATIONAL LLP AS ATTORNEYS FOR THE DEBTORS AND
                          DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 17, 2023


                 ORDER AUTHORIZING THE RETENTION
            AND EMPLOYMENT OF KIRKLAND & ELLIS LLP AND
      KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR THE
    DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 17, 2023



        The relief set forth on the following pages, numbered three (3) through eight (8), is

 hereby ORDERED.




    David’s Bridal, LLC’s principal place of business and the debtors’ service address in these chapter 11 cases is
    1001 Washington Street, Conshohocken, Pennsylvania 19428.


                                                        2
Case 23-13131-CMG             Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                            Desc Main
                                    Document    Page 16 of 102
 (Page 3)
 Debtors:                  DAVID’S BRIDAL, LLC., et al.
 Case No.                  23-13131 (CMG)
 Caption of Order:         ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
                           KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
                           INTERNATIONAL LLP AS ATTORNEYS FOR THE DEBTORS AND
                           DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 17, 2023


         Upon the application (the “Application”)2 of the above-captioned debtors and debtors in

 possession (collectively, the “Debtors”) for the entry of an order (the “Order”) authorizing the

 Debtors to retain and employ Kirkland & Ellis LLP and Kirkland & Ellis International LLP

 (collectively, “Kirkland”) as their attorneys effective as of the Petition Date, pursuant to

 sections 327(a) and 330 of title 11 of the United States Code (the “Bankruptcy Code”),

 rules 2014(a) and 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

 and rules 2014-1 and 2016-1 of the Local Bankruptcy Rules for the District of New Jersey

 (the “Local Rules”); and the Court having reviewed the Application, the Declaration of

 Christopher T. Greco, the president of Christopher T. Greco, P.C., a partner of Kirkland & Ellis

 LLP, and a partner of Kirkland & Ellis International LLP (the “Greco Declaration”), and the

 declaration of James Marcum, the Chief Executive Officer of David’s Bridal, LLC (the “Marcum

 Declaration”); and the Court having found that the Court has jurisdiction over this matter pursuant

 to 28 U.S.C. §§ 157 and 1334; and the Court having found that the Application is a core proceeding

 pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and

 the Application in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court

 having found based on the representations made in the Application and in the Greco Declaration

 that (a) Kirkland does not hold or represent an interest adverse to the Debtors’ estates and

 (b) Kirkland is a “disinterested person” as defined in section 101(14) of the Bankruptcy Code and




 2   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.


                                                          3
Case 23-13131-CMG        Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                               Document    Page 17 of 102
 (Page 4)
 Debtors:              DAVID’S BRIDAL, LLC., et al.
 Case No.              23-13131 (CMG)
 Caption of Order:     ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
                       KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
                       INTERNATIONAL LLP AS ATTORNEYS FOR THE DEBTORS AND
                       DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 17, 2023


 as required by section 327(a) of the Bankruptcy Code; and the Court having found that the relief

 requested in the Application is in the best interests of the Debtors’ estates; and the Court having

 found that the Debtors provided adequate and appropriate notice of the Application under the

 circumstances and that no other or further notice is required; and the Court having reviewed the

 Application and having heard statements in support of the Application at a hearing held before the

 Court (the “Hearing”); and the Court having determined that the legal and factual bases set forth

 in the Application and at the Hearing establish just cause for the relief granted herein; and any

 objections to the relief requested herein having been withdrawn or overruled on the merits; and

 after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.      The Application is granted to the extent set forth herein.

        2.      The Debtors are authorized to retain and employ Kirkland as their attorneys

 effective as of the Petition Date in accordance with the terms and conditions set forth in the

 Application and in the Engagement Letter attached hereto as Exhibit 1.

        3.      Kirkland is authorized to provide the Debtors with the professional services as

 described in the Application and the Engagement Letter. Specifically, but without limitation,

 Kirkland will render the following legal services:

                a.     advising the Debtors with respect to their powers and duties as debtors in
                       possession in the continued management and operation of their businesses
                       and properties;

                b.     advising and consulting on their conduct during these chapter 11 cases,
                       including all of the legal and administrative requirements of operating in
                       chapter 11;


                                                  4
Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                              Document    Page 18 of 102
 (Page 5)
 Debtors:             DAVID’S BRIDAL, LLC., et al.
 Case No.             23-13131 (CMG)
 Caption of Order:    ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
                      KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
                      INTERNATIONAL LLP AS ATTORNEYS FOR THE DEBTORS AND
                      DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 17, 2023


               c.     attending meetings and negotiating with representatives of creditors and
                      other parties in interest;

               d.     taking all necessary actions to protect and preserve the Debtors’ estates,
                      including prosecuting actions on the Debtors’ behalf, defending any action
                      commenced against the Debtors, and representing the Debtors in
                      negotiations concerning litigation in which the Debtors are involved,
                      including objections to claims filed against the Debtors’ estates;

               e.     preparing pleadings in connection with these chapter 11 cases, including
                      motions, applications, answers, orders, reports, and papers necessary or
                      otherwise beneficial to the administration of the Debtors’ estates;

               f.     representing the Debtors in connection with obtaining authority to continue
                      using cash collateral and postpetition financing;

               g.     advising the Debtors in connection with any potential sale of assets;

               h.     appearing before the Court and any appellate courts to represent the interests
                      of the Debtors’ estates;

               i.     advising the Debtors regarding tax matters;

               j.     taking any necessary action on behalf of the Debtors to negotiate, prepare,
                      and obtain approval of a disclosure statement and confirmation of a chapter
                      11 plan and all documents related thereto; and

               k.     performing all other necessary legal services for the Debtors in connection
                      with the prosecution of these chapter 11 cases, including: (i) analyzing the
                      Debtors’ leases and contracts and the assumption and assignment or
                      rejection thereof; (ii) analyzing the validity of liens against the Debtors’
                      assets; and (iii) advising the Debtors on corporate and litigation matters.

        4.     Kirkland shall apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

 compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

 Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.


                                                5
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                                Document    Page 19 of 102
 (Page 6)
 Debtors:               DAVID’S BRIDAL, LLC., et al.
 Case No.               23-13131 (CMG)
 Caption of Order:      ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
                        KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
                        INTERNATIONAL LLP AS ATTORNEYS FOR THE DEBTORS AND
                        DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 17, 2023


 Kirkland also intends to make a reasonable effort to comply with the U.S. Trustee’s requests for

 information and additional disclosures as set forth in the Guidelines for Reviewing Applications

 for Compensation and Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in

 Larger Chapter 11 Cases Effective as of November 1, 2013 (the “Revised UST Guidelines”), both

 in connection with the Application and the interim and final fee applications to be filed by Kirkland

 in these chapter 11 cases.

        5.      Notwithstanding anything in the Application, Declaration, or Engagement Letter to

 the contrary, Kirkland shall apply any remaining amounts of its prepetition advance payment

 retainer as a credit toward postpetition fees and expenses, after such postpetition fees and expenses

 are approved pursuant to an order of the Court awarding fees and expenses to Kirkland. Kirkland

 is authorized without further order of the Court to reserve and apply amounts from the prepetition

 advance payment retainer that would otherwise be applied toward payment of postpetition fees

 and expenses as are necessary and appropriate to compensate and reimburse Kirkland for fees or

 expenses incurred on or prior to the Petition Date consistent with its ordinary course billing

 practices.

        6.      Notwithstanding anything to the contrary in the Application, the Engagement

 Letter, or the Declarations attached to the Application, the reimbursement provisions allowing the

 reimbursement of fees and expenses incurred in connection with participating in, preparing for, or

 responding to any action, claim, suit, or proceeding brought by or against any party that relates to

 the legal services provided under the Engagement Letter and fees for defending any objection to


                                                  6
Case 23-13131-CMG          Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                  Desc Main
                                 Document    Page 20 of 102
 (Page 7)
 Debtors:               DAVID’S BRIDAL, LLC., et al.
 Case No.               23-13131 (CMG)
 Caption of Order:      ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
                        KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
                        INTERNATIONAL LLP AS ATTORNEYS FOR THE DEBTORS AND
                        DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 17, 2023


 Kirkland’s fee applications under the Bankruptcy Code are not approved pending further order of

 the Court.

          7.    Kirkland shall not charge a markup to the Debtors with respect to fees billed by

 contract attorneys who are hired by Kirkland to provide services to the Debtors and shall ensure

 that any such contract attorneys are subject to conflict checks and disclosures in accordance with

 the requirements of the Bankruptcy Code and Bankruptcy Rules.

          8.    In order to avoid any duplication of effort and provide services to the Debtors in

 the most efficient and cost-effective manner, Kirkland shall coordinate with Cole Schotz and any

 additional firms the Debtors retain regarding their respective responsibilities in these chapter 11

 cases.

          9.    Kirkland shall provide ten-business-days’ notice to the Debtors, the U.S. Trustee,

 and any official committee before any increases in the rates set forth in the Application or the

 Engagement Letter are implemented and shall file such notice with the Court. The U.S. Trustee

 retains all rights to object to any rate increase on all grounds, including the reasonableness standard

 set forth in section 330 of the Bankruptcy Code, and the Court retains the right to review any rate

 increase pursuant to section 330 of the Bankruptcy Code.

          10.   No agreement or understanding exists between Kirkland and any other person,

 other than as permitted by Bankruptcy Code section 504, to share compensation received for

 services rendered in connection with these chapter 11 cases, nor shall Kirkland share or agree to




                                                   7
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                Desc Main
                                Document    Page 21 of 102
 (Page 8)
 Debtors:              DAVID’S BRIDAL, LLC., et al.
 Case No.              23-13131 (CMG)
 Caption of Order:     ORDER AUTHORIZING THE RETENTION AND EMPLOYMENT OF
                       KIRKLAND & ELLIS LLP AND KIRKLAND & ELLIS
                       INTERNATIONAL LLP AS ATTORNEYS FOR THE DEBTORS AND
                       DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 17, 2023


 share compensation received for services rendered in connection with these chapter 11 cases with

 any other person other than as permitted by Bankruptcy Code section 504.

        11.     The Debtors and Kirkland are authorized to take all actions necessary to effectuate

 the relief granted pursuant to this Order in accordance with the Application.

        12.     Notice of the Application as provided therein is deemed to be good and sufficient

 notice of such Application, and the requirements of the Local Rules are satisfied by the contents

 of the Application.

        13.     To the extent the Application, the Greco Declaration, the Marcum Declaration, or

 the Engagement Letter is inconsistent with this Order, the terms of this Order shall govern.

        14.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the

 Application or otherwise waived.

        15.     The terms and conditions of this Order shall be immediately effective and

 enforceable upon its entry.

        16.     The Court retains jurisdiction with respect to all matters arising from or related to

 the implementation of this Order.

  Dated: ___________
  Trenton, New Jersey

                                                  CHRISTINE M. GRAVELLE
                                                  UNITED STATES BANKRUPTCY JUDGE




                                                  8
Case 23-13131-CMG   Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                          Document    Page 22 of 102



                                  EXHIBIT 1

                               Engagement Letter
    Case 23-13131-CMG                   Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                                     Desc Main
                                              Document    Page 23 of 102




                                                               300 North LaSalle
                                                               Chicago, IL 60654
      Alexandra Schwarzman                                       United States
       To Call Writer Directly:                                                                                         Facsimile:
          +1 312 862 3160                                       +1 312 862 2000                                      +1 312 862 2200
alexandra.schwarzman@kirkland.com
                                                               www.kirkland.com



                                                             October 28, 2022


       Lori Cochran Kinkade
       SVP, Head of Legal
       David’s Bridal, LLC
       1001 Washington Street
       Consohocken, PA 19428



                           Re:       Retention to Provide Legal Services

       Dear Ms. Kinkade:

               We are very pleased that you have asked us to represent David’s Bridal, LLC and only
       those wholly or partially owned subsidiaries listed in an addendum or supplement to this letter
       (collectively, “Client”) in connection with a potential restructuring transaction. Please note, the
       Firm’s representation is only of Client; the Firm does not and will not represent any direct or
       indirect shareholder, director, officer, partner, employee, affiliate, or joint venturer of Client or of
       any other entity.

               General Terms. This retention letter (this “Agreement”) sets forth the terms of Client’s
       retention of Kirkland & Ellis LLP (and its affiliated entity Kirkland & Ellis International LLP
       (collectively, the “Firm”)) to provide legal services and constitutes an agreement between the Firm
       and Client (the “Parties”). This Agreement (notwithstanding any guidelines for outside counsel
       that Client may provide to the Firm) sets forth the Parties’ entire agreement for rendering
       professional services for the current matter, as well as for all other existing or future matters
       (collectively, the “Engagement”), except where the Parties otherwise agree in writing.

              Fees. The Firm will bill Client for fees incurred at its regular hourly rates and in quarterly
       increments of an hour (or in smaller time increments as otherwise required by a court). The Firm
       reserves the right to adjust the Firm’s billing rates from time to time in the ordinary course of the
       Firm’s representation of Client.

              Although the Firm will attempt to estimate fees to assist Client in Client’s planning if
       requested, such estimates are subject to change and are not binding unless otherwise expressly and
       unequivocally stated in writing.


Austin Bay Area Beijing Boston Brussels Dallas Hong Kong Houston London Los Angeles Munich New York Paris Salt Lake City Shanghai Washington, D.C.
       KE 91105576.6
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                                Document    Page 24 of 102




 October 28, 2022
                                                                                 CONFIDENTIAL
 Page 2


         Expenses. Expenses related to providing services shall be included in the Firm’s
 statements as disbursements advanced by the Firm on Client’s behalf. Such expenses include
 photocopying, printing, scanning, witness fees, travel expenses, filing and recording fees, certain
 secretarial overtime, and other overtime expenses, postage, express mail, and messenger charges,
 deposition costs, computerized legal research charges, and other computer services, and
 miscellaneous other charges. Client shall pay directly (and is solely responsible for) certain larger
 costs, such as consultant or expert witness fees and expenses, and outside suppliers’ or contractors’
 charges, unless otherwise agreed by the Parties. By executing this Agreement below, Client agrees
 to pay for all charges in accordance with the Firm’s schedule of charges, a copy of which is
 attached hereto at Schedule 1, as revised from time to time.

         Billing Procedures. The Firm’s statements of fees and expenses are typically delivered
 monthly, but the Firm reserves the right to alter the timing of delivering its statements depending
 on circumstances. Client may have the statement in any reasonable format it chooses, but the Firm
 will select an initial format for the statement unless Client otherwise requests in writing.
 Depending on the circumstances, however, estimated or summary statements may be provided,
 with time and expense details to follow thereafter.

         Retainer. Client agrees to provide to the Firm an “advance payment retainer,” as defined
 in Rule 1.15(c) of the Illinois Rules of Professional Conduct, Dowling v. Chicago Options Assoc.,
 Inc., 875 N.E.2d 1012, 1018 (Ill. 2007), and In re Caesars Entm’t Operating Co., Inc.,
 No. 15-01145 (ABG) (Bankr. N.D. Ill. May 28, 2015) (and cases cited therein), in the amount of
 $200,000. In addition, Client agrees to provide one or more additional advance payment retainers
 upon request by the Firm so that the amount of any advance payment retainers remains at or above
 the Firm’s estimated fees and expenses. The Firm may apply the advance payment retainers to
 any outstanding fees as services are rendered and to expenses as they are incurred. Client
 understands and acknowledges that any advance payment retainers are earned by the Firm upon
 receipt, any advance payment retainers become the property of the Firm upon receipt, Client no
 longer has a property interest in any advance payment retainers upon the Firm’s receipt, any
 advance payment retainers will be placed in the Firm’s general account and will not be held in a
 client trust account, and Client will not earn any interest on any advance payment retainers;
 provided, however, that solely to the extent required under applicable law, at the conclusion of the
 Engagement, if the amount of any advance payment retainers held by the Firm is in excess of the
 amount of the Firm’s outstanding and estimated fees, expenses, and costs, the Firm will pay to
 Client the amount by which any advance payment retainers exceed such fees, expenses, and
 costs. Client further understands and acknowledges that the use of advance payment retainers is
 an integral condition of the Engagement, and is necessary to ensure that: Client continues to have
 access to the Firm’s services; the Firm is compensated for its representation of Client; the Firm is
 not a pre-petition creditor in the event of a Restructuring Case; and that in light of the foregoing,
 the provision of the advance payment retainers is in Client’s best interests. The fact that Client




 KE 91105576.6
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                   Desc Main
                                Document    Page 25 of 102




 October 28, 2022
                                                                                   CONFIDENTIAL
 Page 3


 has provided the Firm with an advance payment retainer does not affect Client’s right to terminate
 the client-lawyer relationship.

         Please be advised that there is another type of retainer known as a “security retainer,” as
 defined in Dowling v. Chicago Options Assoc., 875 N.E.2d at 1018, and In re Caesars Entm’t
 Operating Co., Inc., No. 15-01145 (ABG) (Bankr. N.D. Ill. May 28, 2015) (and cases cited
 therein). A security retainer remains the property of the client until the lawyer applies it to charges
 for services that are actually rendered and expenses that are incurred. Any unearned funds are then
 returned to the client. In other circumstances not present here, the Firm would consider a security
 retainer and Client’s funds would be held in the Firm’s segregated client trust account until applied
 to pay fees and expenses. Funds in a security retainer, however, can be subject to claims of Client’s
 creditors and, if taken by creditors, may leave Client unable to pay for ongoing legal services,
 which may result in the Firm being unable to continue the Engagement. Moreover, a security
 retainer creates clawback risks for the Firm in the event of an insolvency proceeding. The choice
 of the type of retainer to be used is Client’s choice alone, but for the Engagement and for the
 reasons set forth above, the Firm is unwilling to represent Client in the Engagement without using
 the advance payment retainer.

         Termination. The Engagement may be terminated by either Party at any time by written
 notice by or to Client. The Engagement will end at the earliest of (a) Client’s termination of the
 Engagement, (b) the Firm’s withdrawal, and (c) the substantial completion of the Firm’s
 substantive work. If permission for withdrawal is required by a court, the Firm shall apply
 promptly for such permission, and termination shall coincide with the court order for withdrawal.
 If this Agreement or the Firm’s services are terminated for any reason, such termination shall be
 effective only to terminate the Firm’s services prospectively and all the other terms of this
 Agreement shall survive any such termination.

         Upon cessation of the Firm’s active involvement in a particular matter (even if the Firm
 continues active involvement in other matters on Client’s behalf), the Firm will have no further
 duty to inform Client of future developments or changes in law as may be relevant to such matter.
 Further, unless the Parties mutually agree in writing to the contrary, the Firm will have no
 obligation to monitor renewal or notice dates or similar deadlines that may arise from the matters
 for which the Firm had been retained.

         Cell Phone and E-Mail Communication. The Firm hereby informs Client and Client
 hereby acknowledges that the Firm’s attorneys sometimes communicate with their clients and their
 clients’ professionals and agents by cell telephone, that such communications are capable of being
 intercepted by others and therefore may be deemed no longer protected by the attorney-client
 privilege, and that Client must inform the Firm if Client does not wish the Firm to discuss
 privileged matters on cell telephones with Client or Client’s professionals or agents.




 KE 91105576.6
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                  Desc Main
                                Document    Page 26 of 102




 October 28, 2022
                                                                                  CONFIDENTIAL
 Page 4


         The Firm hereby informs Client and Client hereby acknowledges that the Firm’s attorneys
 sometimes communicate with their clients and their clients’ professionals and agents by
 unencrypted e-mail, that such communications are capable of being intercepted by others and
 therefore may be deemed no longer protected by the attorney-client privilege, and that Client must
 inform the Firm if Client wishes to institute a system to encode all e-mail between the Firm and
 Client or Client’s professionals or agents.

          File Retention. All records and files will be retained and disposed of in compliance with
 the Firm’s policy in effect from time to time. Subject to future changes, it is the Firm’s current
 policy generally not to retain records relating to a matter for more than five years. Upon Client’s
 prior written request, the Firm will return client records that are Client’s property to Client prior
 to their destruction. Although we will return your records (i.e., your client file) to you at any time
 upon your written request, you agree that your client file will not include our Firm’s internal files
 including administrative materials, internal communications, and drafts. It is not administratively
 feasible for the Firm to advise Client of the closing of a matter or the disposal of records. The
 Firm recommends, therefore, that Client maintain Client’s own files for reference or submit a
 written request for Client’s client files promptly upon conclusion of a matter. Notwithstanding
 anything to the contrary herein, Client acknowledges and agrees that any applicable privilege of
 Client (including any attorney-client and work product privilege or any duty of confidentiality)
 (collectively, the “Privileges”) belongs to Client alone and not to any successor entity (including
 without limitation the Client after a change in control or other similar restructuring or non-
 restructuring transaction (including without limitation a reorganized Client after the effective date
 of a plan of reorganization), whether through merger, asset or equity sale, business combination,
 or otherwise, irrespective of whether such transaction occurs in a Restructuring Case or on an out-
 of-court basis (in each case, a “Transaction”)). Client hereby waives any right, title, and interest
 of such successor entity to all information, data, documents, or communications in any format
 covered by the Privileges that is in the possession of the Firm (“Firm Materials”), to the extent that
 such successor entity had any right, title, and interest to such Firm Materials. For the avoidance
 of doubt, Client agrees and acknowledges that after a Transaction, such successor entity shall have
 no right to claim or waive the Privileges or request the return of any such Firm Materials; instead,
 such Firm Materials shall remain in the Firm’s sole possession and control for its exclusive use,
 and the Firm will (a) not waive any Privileges or disclose the Firm Materials, (b) take all reasonable
 steps to ensure that the Privileges survive and remain in full force and effect, and (c) assert the
 Privileges to prevent disclosure of any Firm Materials.

        Data Protection. You further agree that, if you provide us with personal data, you have
 complied with applicable data protection legislation and that we may process such personal data
 in accordance with our Data Transfer and Privacy Policy at www.kirkland.com. We process your
 personal data in order to (i) carry out work for you; (ii) share the data with third parties such as
 expert witnesses and other professional advisers if our work requires; (iii) comply with applicable
 laws and regulations and (iv) provide you with information relating to our Firm and its services.



 KE 91105576.6
Case 23-13131-CMG          Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                    Desc Main
                                 Document    Page 27 of 102




 October 28, 2022
                                                                                     CONFIDENTIAL
 Page 5


         Conflicts of Interest. As is customary for a law firm of the Firm’s size, there are numerous
 business entities, with which Client currently has relationships, that the Firm has represented or
 currently represents in matters unrelated to Client. The Firm notes that the Firm currently
 represents or has represented Oaktree Capital Management or their affiliates (collectively, the
 “Interested Parties”) and will continue to do so in such unrelated matters. Because Client is
 engaged in activities (and may in the future engage in additional activities) in which Client’s
 interests may diverge from those of the Interested Parties or the Firm’s other clients, the possibility
 exists that the Interested Parties or one of the Firm’s clients may take positions adverse to Client.

          Further, in undertaking the representation of Client, the Firm wants to be fair not only to
 Client’s interests but also to those of the Firm’s other clients. Because Client is engaged in
 activities (and may in the future engage in additional activities) in which its interests may diverge
 from those of the Firm’s other clients, the possibility exists that one of the Firm’s current or future
 clients may take positions adverse to Client (including litigation or other dispute resolution
 mechanisms) in a matter in which such other client may have retained the Firm or one of Client’s
 adversaries may retain the Firm in a matter adverse to another entity or person.

         In the event a present conflict of interest exists between Client and the Firm’s other clients
 or in the event one arises in the future, Client agrees to waive any such conflict of interest or other
 objection that would preclude the Firm’s representation of another client (a) in other current or
 future matters substantially unrelated to the Engagement or (b) other than during a Restructuring
 Case (as defined below), in other matters related to Client (such representation an “Allowed
 Adverse Representation”). By way of example, such Allowed Adverse Representations might take
 the form of, among other contexts: litigation (including arbitration, mediation and other forms of
 dispute resolution); transactional work (including consensual and non-consensual merger,
 acquisition, and takeover situations, financings, and commercial agreements); counseling
 (including advising direct adversaries and competitors); and restructuring (including bankruptcy,
 insolvency, financial distress, recapitalization, equity and debt workouts, and other transactions or
 adversarial adjudicative proceedings related to any of the foregoing and similar matters).

         Client also agrees that it will not, for itself or any other entity or person, assert that either
 (i) the Firm’s representation of Client or any of Client’s affiliates in any past, present, or future
 matter or (ii) the Firm’s actual or possible possession of confidential information belonging to
 Client or any of Client’s affiliates is a basis to disqualify the Firm from representing another entity
 or person in any Allowed Adverse Representation. Client further agrees that any Allowed Adverse
 Representation does not breach any duty that the Firm owes to Client or any of Client’s affiliates.
 Client also agrees that the Firm’s representation in the Engagement is solely of Client and that no
 member or other entity or person related to it (such as a shareholder, parent, subsidiary, affiliate,
 director, officer, partner, employee, or joint venturer) has the status of a client for conflict of
 interest purposes.




 KE 91105576.6
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                   Desc Main
                                Document    Page 28 of 102




 October 28, 2022
                                                                                   CONFIDENTIAL
 Page 6


         In addition, if a waiver of a conflict of interest necessary to allow the Firm to represent
 another client in a matter that is not substantially related to the Engagement is not effective for any
 reason, Client agrees that the Firm may withdraw from the Engagement. Should that occur, Client
 will not, for itself or any other entity or person, seek to preclude such termination of services or
 assert that either (a) the Firm’s representation of Client or any of Client’s affiliates in any past,
 present, or future matter or (b) the Firm’s actual or possible possession of confidential information
 belonging to Client or any of Client’s affiliates is a basis to disqualify the Firm from representing
 such other client or acting on such adverse matter.

        It is important that you review this letter carefully and consider all of the advantages and
 disadvantages of waiving certain conflicts of interests that would otherwise bar the Firm from
 representing parties with interests adverse to you during the time in which the Firm is representing
 you. You also understand that because this waiver includes future issues and future clients that
 are unknown and unknowable at this time, it is impossible to provide you with any more details
 about those prospective clients and matters. Thus, in choosing to execute this waiver, you have
 recognized the inherent uncertainty about the array of potential matters and clients the Firm might
 take on in matters that are adverse to you but have nonetheless decided it is in your interest to
 waive conflicts of interest regarding the Allowed Adverse Representations and waive rights to
 prohibit the Firm’s potential withdrawal should a conflict waiver prove ineffectual.

         The Firm informs Client that certain entities owned by current or former Firm attorneys
 and senior staff (“Attorney Investment Entities”) have investments in funds or companies that may,
 directly or indirectly, be affiliated with Client, hold investments in Client’s debt or equity
 securities, may be adverse to Client, or conduct commercial transactions with Client (each, a
 “Passive Holding”). The Attorney Investment Entities are passive and have no management or
 other control rights in such funds or companies. The Firm notes that other persons may in the
 future assert that a Passive Holding creates, in certain circumstances, a conflict between the Firm’s
 exercise of its independent professional judgment in rendering advice to Client and the financial
 interest of Firm attorneys participating in the Attorney Investment Entities, and such other persons
 might seek to limit Client’s ability to use the Firm to advise Client on a particular matter. While
 the Firm cannot control what a person might assert or seek, the Firm believes that the Firm’s
 judgment will not be compromised by virtue of any Passive Holding. Please let us know if Client
 has any questions or concerns regarding the Passive Holdings. By executing this letter, Client
 acknowledges the Firm’s disclosure of the foregoing.

         Restructuring Cases. If it becomes necessary for Client to commence a restructuring case
 under chapter 11 of the U.S. Bankruptcy Code (a “Restructuring Case”), the Firm’s ongoing
 employment by Client will be subject to the approval of the court with jurisdiction over the
 petition. If necessary, the Firm will take steps necessary to prepare the disclosure materials
 required in connection with the Firm’s retention as lead restructuring counsel. In the near term,
 the Firm will begin conflicts checks on potentially interested parties as provided by Client.



 KE 91105576.6
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                  Desc Main
                                Document    Page 29 of 102




 October 28, 2022
                                                                                  CONFIDENTIAL
 Page 7


         If necessary, the Firm will prepare a preliminary draft of a schedule describing the Firm’s
 relationships with certain interested parties (the “Disclosure Schedule”). The Firm will give Client
 a draft of the Disclosure Schedule once it is available. Although the Firm believes that these
 relationships do not constitute actual conflicts of interest, these relationships must be described
 and disclosed in Client’s application to the court to retain the Firm.

         If in the Firm’s determination a conflict of interest arises in Client’s Restructuring Case
 requiring separate conflicts counsel, then Client will be required to use separate conflicts counsel
 in those matters.

         No Guarantee of Success. It is impossible to provide any promise or guarantee about the
 outcome of Client’s matters. Nothing in this Agreement or any statement by Firm staff or attorneys
 constitutes a promise or guarantee. Any comments about the outcome of Client’s matter are simply
 expressions of judgment and are not binding on the Firm.

          Reimbursement of Fees and Expenses. Client agrees to promptly reimburse the Firm for
 all internal or external fees and expenses, including the amount of the Firm’s attorney and paralegal
 time at normal billing rates, as incurred by the Firm in connection with participating in, preparing
 for, or responding to any action, claim, objection, suit, or proceeding brought by or against any
 third-party that relates to the legal services provided by the Firm under this Agreement. Without
 limiting the scope of the foregoing, and by way of example only, this paragraph extends to all such
 fees and expenses incurred by the Firm: in responding to document subpoenas, and preparing for
 and testifying at depositions and trials; and with respect to the filing, preparation, prosecution or
 defense of any applications by the Firm for approval of fees and expenses in a judicial, arbitral, or
 similar proceeding. Further, Client understands, acknowledges, and agrees that in connection with
 a Restructuring Case, if Client has not objected to the payment of a Firm invoice or to a Firm fee
 and expense application, has in fact paid such invoice, or has approved such fee and expense
 application, then Client waives its right (and the right of any successor entity as a result of a
 Transaction or otherwise) to subsequently object to the payment of fees and expenses covered by
 such invoice or fee application.

          LLP. Kirkland & Ellis LLP is a limited liability partnership organized under the laws of
 Illinois, and Kirkland & Ellis International LLP is a limited liability partnership organized under
 the laws of Delaware. Pursuant to those statutory provisions, an obligation incurred by a limited
 liability partnership, whether arising in tort, contract or otherwise, is solely the obligation of the
 limited liability partnership, and partners are not personally liable, directly or indirectly, by way
 of indemnification, contribution, assessment or otherwise, for such obligation solely by reason of
 being or so acting as a partner.

        Governing Law. This Agreement shall be governed by, and construed in accordance with,
 the laws of the State of Illinois, without giving effect to the conflicts of law principles thereof.



 KE 91105576.6
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                                Document    Page 30 of 102




 October 28, 2022
                                                                                 CONFIDENTIAL
 Page 8


         Miscellaneous. This Agreement sets forth the Parties’ entire agreement for rendering
 professional services. It can be amended or modified only in writing and not orally or by course
 of conduct. Each Party signing below is jointly and severally responsible for all obligations due
 to the Firm and represents that each has full authority to execute this Agreement so that it is
 binding. This Agreement may be signed in one or more counterparts and binds each Party
 countersigning below, whether or not any other proposed signatory ever executes it. If any
 provision of this Agreement or the application thereof is held invalid or unenforceable, the
 invalidity or unenforceability shall not affect other provisions or applications of this Agreement
 which can be given effect without such provisions or application, and to this end the provisions of
 this Agreement are declared to be severable. Any agreement or waiver contained herein by Client
 extends to any assignee or successor in interest to Client, including without limitation the
 reorganized Client upon and after the effective date of a plan of reorganization in a Restructuring
 Case.

         This Agreement is the product of arm’s-length negotiations between sophisticated parties,
 and Client acknowledges that it is experienced with respect to the retention of legal counsel.
 Therefore, the Parties acknowledge and agree that any otherwise applicable rule of contract
 construction or interpretation which provides that ambiguities shall be construed against the drafter
 (and all similar rules of contract construction or interpretation) shall not apply to this Agreement.
 The Parties further acknowledge that the Firm is not advising Client with respect to this Agreement
 because the Firm would have a conflict of interest in doing so, and that Client has consulted (or
 had the opportunity to consult) with legal counsel of its own choosing. Client further
 acknowledges that Client has entered into this Agreement and agreed to all of its terms and
 conditions voluntarily and fully-informed, based on adequate information and Client’s own
 independent judgment. The Parties further acknowledge that they intend for this Agreement to be
 effective and fully enforceable upon its execution and to be relied upon by the Parties.

                                                ***




 KE 91105576.6
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                  Desc Main
                                Document    Page 31 of 102




 October 28, 2022
                                                                                  CONFIDENTIAL
 Page 9


        Please confirm your agreement with the arrangements described in this letter by signing
 the enclosed copy of this letter in the space provided below and returning it to us. Please
 understand that, if we do not receive a signed copy of this letter within twenty-one days, we will
 withdraw from representing you in this Engagement.

                                                 Very truly yours,

                                                 KIRKLAND & ELLIS LLP

                                                 By:
                                                       Printed Name: Alexandra Schwarzman
                                                       Title: Partner

           Agreed and accepted this 29
                                    __ of October, 2022

                                                 David’s Bridal, LLC

                                                 By:
                                                 Name:     Lori C. Kinkade
                                                 Title:    SVP, Head of Legal & Secretary




 KE 91105576.6
Case 23-13131-CMG          Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                                 Document    Page 32 of 102




 October 28, 2022
                                                                       CONFIDENTIAL
 Page 10


                               ADDENDUM: List of Client Subsidiaries

 Aligned for the Frontline, LLC

 Blueprint Registry, LLC

 David’s Bridal Canada, Inc.

 David’s Bridal UK Limited

 David’s Bridal, LLC

 DBI Holdco, Inc.

 DBI Holdco II, Inc.

 DBI Investors, Inc.

 DBI Midco, Inc.




 KE 91105576.6
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                                Document    Page 33 of 102
 October 28, 2022
 Page No. 1


 KIRKLAND & ELLIS LLP

 CLIENT-REIMBURSABLE EXPENSES AND OTHER CHARGES

 Effective 01/01/2022

 The following outlines Kirkland & Ellis LLP’s (“K&E LLP”) policies and standard charges for
 various services performed by K&E LLP and/or by other third parties on behalf of the client
 which are often ancillary to our legal services. Services provided by in-house K&E LLP
 personnel are for the convenience of our clients. Given that these services are often ancillary to
 our legal services, in certain instances it may be appropriate and/or more cost efficient for these
 services to be outsourced to a third-party vendor. If services are provided beyond those outlined
 below, pricing will be based on K&E LLP’s approximate cost and/or comparable market pricing.

                Duplicating, Reprographics and Printing: The following list details K&E LLP’s
                 charges for duplicating, reprographics and printing services:

                       Black and White Copy or Print (all sizes of paper):
                            $0.16 per impression for all U.S. offices
                            €0.10 per impression in Munich
                            £0.15 per impression in London
                            HK$1.50 per impression in Hong Kong
                            RMB1.00 per impression in Beijing and Shanghai
                       Color Copy or Print (all sizes of paper):
                            $0.55 per impression
                       Scanned Images:
                            $0.16 per page for black and white or color scans
                       Other Services:
                            CD/DVD Duplicating or Mastering - $7/$10 per CD/DVD
                            Binding - $0.70 per binding
                            Large or specialized binders - $13/$27
                            Tabs - $0.13 per item
                            OCR/File Conversion - $0.03 per page
                            Large Format Printing - $1.00 per sq. ft.

                Secretarial and Word Processing: Clients are not charged for secretarial and
                 word processing activities incurred on their matters during standard business hours.

                Overtime Charges: Clients will be charged for overtime costs for secretarial and
                 document services work if either (i) the client has specifically requested the after-
                 hours work or (ii) the nature of the work being done for the client necessitates out-
                 of-hours overtime and such work could not have been done during normal working
                 hours. If these conditions are satisfied, costs for related overtime meals and
                 transportation also will be charged.


                                                   1
 KE 91105576.6
Case 23-13131-CMG          Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                    Desc Main
                                 Document    Page 34 of 102
 October 28, 2022
 Page No. 2


                Travel Expenses: We charge clients our out-of-pocket costs for travel expenses
                 including associated travel agency fees. We charge coach fares (business class for
                 international flights) unless the client has approved business-class, first-class or an
                 upgrade. K&E LLP personnel are instructed to incur only reasonable airfare, hotel
                 and meal expenses. K&E LLP negotiates, uses, and passes along volume discount
                 hotel and air rates whenever practicable. However, certain retrospective rebates
                 may not be passed along.

                Catering Charges: Clients will be charged for any in-house catering service
                 provided in connection with client matters.

                Communication Expenses: We do not charge clients for telephone calls or faxes
                 made from K&E LLP’s offices with the exception of third-party conference calls
                 and videoconferences.

                 Charges incurred for conference calls, videoconferences, cellular telephones, and
                 calls made from other third-party locations will be charged to the client at the
                 actual cost incurred. Further, other telecommunication expenses incurred at third-
                 party locations (e.g., phone lines at trial sites, Internet access, etc.) will be charged
                 to the client at the actual cost incurred.

                Overnight Delivery/Postage: We charge clients for the actual cost of overnight
                 and special delivery (e.g., Express Mail, FedEx, and DHL), and U.S. postage for
                 materials mailed on the client’s behalf. K&E LLP negotiates, uses, and passes
                 along volume discount rates whenever practicable.

                Messengers:     We charge clients for the actual cost of a third party vendor
                 messenger.

                Library Research Services: Library Research staff provides research and
                 document retrieval services at the request of attorneys, and clients are charged per
                 hour for these services. Any expenses incurred in connection with the request, such
                 as outside retrieval service or online research charges, are passed on to the client at
                 cost, including any applicable discounts.

                Online Research Charges: K&E LLP charges for costs incurred in using third-
                 party online research services in connection with a client matter. K&E LLP
                 negotiates and uses discounts or special rates for online research services whenever
                 possible and practicable and passes through the full benefit of any savings to the
                 client based on actual usage.

                Inter-Library Loan Services: Our standard client charge for inter-library loan
                 services when a K&E LLP library employee borrows a book from an outside source
                 is $25 per title. There is no client charge for borrowing books from K&E LLP
                 libraries in other cities or from outside collections when the title is part of the K&E
                 LLP collection but unavailable.

                                                    2
 KE 91105576.6
Case 23-13131-CMG          Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                  Desc Main
                                 Document    Page 35 of 102
 October 28, 2022
 Page No. 3


                Off-Site Legal Files Storage: Clients are not charged for off-site storage of files
                 unless the storage charge is approved in advance.

                Electronic Data Storage: K&E LLP will not charge clients for costs to store
                 electronic data and files on K&E LLP’s systems if the data stored does not exceed
                 100 gigabytes (GB). If the data stored for a specific client exceeds 100GB, K&E
                 LLP will charge clients $6.00 per month/per GB for all network data stored until
                 the data is either returned to the client or properly disposed of. For e-discovery data
                 on the Relativity platform, K&E LLP will also charge clients $6.00 per month/per
                 GB until the data is either returned to the client or properly disposed of.

                Calendar Court Services: Our standard charge is $25 for a court filing and other
                 court services or transactions.

                Supplies: There is no client charge for standard office supplies. Clients are
                 charged for special items (e.g., a minute book, exhibit tabs/indexes/dividers,
                 binding, etc.) and then at K&E LLP’s actual cost.

                Contract Attorneys and Contract Non-Attorney Billers: If there is a need to
                 utilize a contract attorney or contract non-attorney on a client engagement, clients
                 will be charged a standard hourly rate for these billers unless other specific billing
                 arrangements are agreed between K&E LLP and client.

                Expert Witnesses, Experts of Other Types, and Other Third Party
                 Consultants: If there is a need to utilize an expert witness, expert of other type, or
                 other third party consultant such as accountants, investment bankers, academicians,
                 other attorneys, etc. on a client engagement, clients will be requested to retain or
                 pay these individuals directly unless specific billing arrangements are agreed
                 between K&E LLP and client.

                Third Party Expenditures: Third party expenditures (e.g., corporate document
                 and lien searches, lease of office space at Trial location, IT equipment rental, SEC
                 and regulatory filings, etc.) incurred on behalf of a client, will be passed through to
                 the client at actual cost. If the invoice exceeds $50,000, it is K&E LLP’s policy
                 that wherever possible such charges will be directly billed to the client. In those
                 circumstances where this is not possible, K&E LLP will seek reimbursement from
                 our client prior to paying the vendor.

 Unless otherwise noted, charges billed in foreign currencies are determined annually based on
 current U.S. charges at an appropriate exchange rate.




                                                   3
 KE 91105576.6
Case 23-13131-CMG   Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                          Document    Page 36 of 102



                                  EXHIBIT B

                               Greco Declaration
Case 23-13131-CMG             Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                             Desc Main
                                    Document    Page 37 of 102




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY


 In re:                                                       Chapter 11

 DAVID’S BRIDAL, LLC, et al.,1                                Case No. 23-13131 (CMG)

                                    Debtors.                  (Jointly Administered)



           DECLARATION OF CHRISTOPHER T. GRECO IN SUPPORT
         OF THE DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER
     AUTHORIZING THE RETENTION AND EMPLOYMENT OF KIRKLAND &
 ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR
 THE DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 17, 2023

          I, Christopher T. Greco, being duly sworn, state the following under penalty of perjury:

          1.      I am the president of Christopher T. Greco, P.C., a partner of the law firm of

 Kirkland & Ellis LLP, located at 601 Lexington Avenue, New York, New York 10022, and a

 partner of Kirkland & Ellis International, LLP (together with Kirkland & Ellis LLP,

 collectively, “Kirkland”).2 I am one of the lead attorneys from Kirkland working on the above-

 captioned chapter 11 cases. I am a member in good standing of the Bar of the State of New York

 and New Jersey, and I have been admitted to practice in the United States Supreme Court, the

 United States District Court for the Southern District of New York, the United States District Court

 for the Northern District of Illinois, and I have been admitted pro hac vice in the United States




 1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are David’s Bridal, LLC (4563); DBI Midco, Inc. (7392); DBI Holdco II, Inc. (7512); DBI Investors,
     Inc. (3857); David’s Bridal Canada, Inc. (N/A); Blueprint Registry, LLC (2335). The location of Debtor David’s
     Bridal, LLC’s service address in these chapter 11 cases is 1001 Washington Street, Conshohocken, Pennsylvania
     19428.
 2   Capitalized terms used but not otherwise defined herein shall have the meaning as set forth in the Application.
Case 23-13131-CMG             Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                              Desc Main
                                    Document    Page 38 of 102



 Bankruptcy Court for the District of New Jersey. There are no disciplinary proceedings pending

 against me.

         2.       I submit this declaration (the “Declaration”) in support of the Debtors’ Application

 for Entry of an Order Authorizing the Retention and Employment of Kirkland & Ellis LLP and

 Kirkland & Ellis International LLP as Attorneys for the Debtors and Debtors in Possession

 Effective as of April 17, 2023 (the “Application”).3 Except as otherwise noted, I have personal

 knowledge of the matters set forth herein.

                                           Kirkland’s Qualifications

         3.       The Debtors seek to retain Kirkland because of Kirkland’s recognized expertise and

 extensive experience and knowledge in the field of debtors’ protections, creditors’ rights, and

 business reorganizations under chapter 11 of the Bankruptcy Code.

         4.       Kirkland has been actively involved in major chapter 11 cases and has represented

 debtors in many cases in this district and in others in the Third Circuit, including, among others:

 In re BlockFi Inc., No. 22-19361 (MBK) (Bankr. D.N.J. Feb. 1, 2023); In re Carestream Health,

 Inc., No. 22-10778 (JKS) (Bankr. D. Del. Oct. 7, 2022); In re Riverbed Technology, Inc., No. 21-

 11503 (CTG) (Bankr. D. Del. Dec. 8, 2021); In re Alex and Ani, LLC, No. 21-10918 (CTG)

 (Bankr. D. Del. July 15, 2021); In re Highpoint Resources Corp., No. 21-10565 (CSS)

 (Bankr. D. Del. Apr. 13, 2021); In re Destination Maternity Corp., No. 19-12256 (BLS)

 (Bankr. D. Del. Nov. 20, 2019).4




 3   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.
 4   Because of the voluminous nature of the orders cited in this Declaration, they are not attached to this Declaration.
     Copies of these orders are available upon request to Kirkland.

                                                           2
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                                Document    Page 39 of 102



        5.      In preparing for its representation of the Debtors in these chapter 11 cases, Kirkland

 has become familiar with the Debtors’ business and many of the potential legal issues that may

 arise in the context of these chapter 11 cases. I believe that Kirkland is both well-qualified and

 uniquely able to represent the Debtors in these chapter 11 cases in an efficient and timely manner.

                                      Services to Be Provided

        6.      Subject to further order of the Court and that certain engagement letter dated

 October 29, 2022 (the “Engagement Letter”), a copy of which is attached as Exhibit 1 to the Order,

 the Debtors retained Kirkland to render, without limitation, the following legal services:

                a.      advising the Debtors with respect to their powers and duties as debtor in
                        possession in the continued management and operation of their businesses
                        and properties;

                b.      advising and consulting on the conduct of these chapter 11 cases, including
                        all of the legal and administrative requirements of operating in chapter 11;

                c.      attending meetings and negotiating with representatives of creditors and
                        other parties in interest;

                d.      taking all necessary actions to protect and preserve the Debtors’ estates,
                        including prosecuting actions on the Debtors’ behalf, defending any action
                        commenced against the Debtors, and representing the Debtors in
                        negotiations concerning litigation in which the Debtors are involved,
                        including objections to claims filed against the Debtors’ estates;

                e.      preparing pleadings in connection with these chapter 11 cases, including
                        motions, applications, answers, orders, reports, and papers necessary or
                        otherwise beneficial to the administration of the Debtors’ estates;

                f.      representing the Debtors in connection with obtaining authority to continue
                        using cash collateral and postpetition financing;

                g.      advising the Debtors in connection with any potential sale of assets;

                h.      appearing before the Court and any appellate courts to represent the interests
                        of the Debtors’ estates;

                i.      advising the Debtors regarding tax matters;



                                                  3
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                Desc Main
                                Document    Page 40 of 102



                j.      taking any necessary action on behalf of the Debtors to negotiate, prepare,
                        and obtain approval of a disclosure statement and confirmation of a chapter
                        11 plan and all documents related thereto; and

                k.      performing all other necessary legal services for the Debtors in connection
                        with the prosecution of these chapter 11 cases, including: (i) analyzing the
                        Debtors’ leases and contracts and the assumption and assignment or
                        rejection thereof; (ii) analyzing the validity of liens against the Debtors’
                        assets; and (iii) advising the Debtors on corporate and litigation matters.

        7.      By separate application, the Debtors have also asked the Court to approve the

 retention of Cole Schotz as bankruptcy co-counsel to the Debtors. In order to avoid any duplication

 of effort and provide services to the Debtors in the most efficient and cost-effective manner,

 Kirkland will coordinate with Cole Schotz and any other firms the Debtors retain regarding their

 respective responsibilities in these chapter 11 cases.

        8.      Cole Schotz is primarily responsible for the following:

                a.      advising the Debtors with respect to day to day ordinary course operations
                        and transactions;

                b.      addressing day to day ordinary course litigation issues, including, but not
                        limited to, responding to demands, threats, civil subpoenas, claims, and
                        lawsuits;

                c.      advising the Debtors with respect to executory contract and lease issues
                        including assumption and rejection thereof;

                d.      advising the Debtors as to vendor and landlord issues;

                e.      advising the Debtors on employee related matters;

                f.      advising the Debtors with respect to their consulting agreement and
                        liquidation of inventory;

                g.      preparing, with the assistance of Omni Agent Solutions, the Debtors’
                        schedules of assets and liabilities and statements of financial affairs;

                h.      drafting and filing motions, applications, schedules, lists, and other papers
                        or documents required in connection with the chapter 11 cases; and

                i.      responding to creditor and party-in-interest inquiries directed to Cole
                        Schotz.
                                                   4
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                                Document    Page 41 of 102



        9.      Kirkland is primarily responsible for the following:

                a.      overseeing internal investigations by independent directors;

                b.      advising the Debtors with respect to any and all issues relating to the
                        Debtors’ debtor-in-possession financing and use of cash collateral;

                c.      advising the Debtors with respect to their sale process;

                d.      providing transactional support in connection with the Debtors’ sale
                        process;

                e.      communicating with the Debtors’ board of directors;

                f.      drafting the Debtors’ chapter 11 plan and disclosure statement; and

                g.      responding to creditor and party-in-interest inquiries directed at Kirkland.

                                    Professional Compensation

        10.     Kirkland intends to apply for compensation for professional services rendered on

 an hourly basis and reimbursement of expenses incurred in connection with these chapter 11 cases,

 subject to the Court’s approval and in compliance with applicable provisions of the Bankruptcy

 Code, the Bankruptcy Rules, the Local Rules, and any other applicable procedures and orders of

 the Court. The hourly rates and corresponding rate structure Kirkland will use in these chapter 11

 cases are the same as the hourly rates and corresponding rate structure that Kirkland uses in other

 debtor representations, and are comparable to the hourly rates and corresponding rate structure that

 Kirkland uses for complex corporate, securities, and litigation matters whether in court or

 otherwise, regardless of whether a fee application is required. These rates and the rate structure

 reflect that such restructuring and other complex matters typically are national in scope and involve

 great complexity, high stakes, and severe time pressures.

        11.     Kirkland operates in a national marketplace for legal services in which rates are

 driven by multiple factors relating to the individual lawyer, his or her area of specialization, the

 firm’s expertise, performance, and reputation, the nature of the work involved, and other factors.
                                                  5
Case 23-13131-CMG              Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                              Desc Main
                                     Document    Page 42 of 102



         12.       Kirkland’s current hourly rates for matters related to these chapter 11 cases range

 as follows:5

                                 Billing Category6                    U.S. Range
                                      Partners                       $1,195-$2,245
                                     Of Counsel                       $820-$2,125
                                     Associates                       $685-$1,395
                                 Paraprofessionals                     $295-$575

         13.       Kirkland’s hourly rates are set at a level designed to compensate Kirkland fairly for

 the work of its attorneys and paralegals and to cover fixed and routine expenses. Hourly rates vary

 with the experience and seniority of the individuals assigned. These hourly rates are subject to

 periodic adjustments to reflect economic and other conditions. 7

         14.       It is Kirkland’s policy to charge its clients in all areas of practice for identifiable,

 non-overhead expenses incurred in connection with the client’s case that would not have been

 incurred except for representation of that particular client. It is also Kirkland’s policy to charge

 its clients only the amount actually incurred by Kirkland in connection with such items. Examples



 5   For professionals and paraprofessionals residing outside of the U.S., hourly rates are billed in the applicable
     currency. When billing a U.S. entity, such foreign rates are converted into U.S. dollars at the then applicable
     conversion rate. After converting these foreign rates into U.S. dollars, it is possible that certain rates may exceed
     the billing rates listed in the chart herein. While the rate ranges provided for in this Application may change if
     an individual leaves or joins Kirkland, and if any such individual’s billing rate falls outside the ranges disclosed
     above, Kirkland does not intend to update the ranges for such circumstances.
 6   Although Kirkland does not anticipate using contract attorneys during these chapter 11 cases, in the unlikely event
     that it becomes necessary to use contract attorneys, Kirkland will not charge a markup to the Debtors with respect
     to fees billed by such attorneys. Moreover, any contract attorneys or non-attorneys who are employed by the
     Debtors in connection with work performed by Kirkland will be subject to conflict checks and disclosures in
     accordance with the requirements of the Bankruptcy Code.
 7   For example, like many of its peer law firms, Kirkland typically increases the hourly billing rate of attorneys and
     paraprofessionals twice a year in the form of: (i) step increases historically awarded in the ordinary course on the
     basis of advancing seniority and promotion and (ii) periodic increases within each attorney’s and
     paraprofessional’s current level of seniority. The step increases do not constitute “rate increases” (as the term is
     used in the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses Filed
     Under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases, effective November 1, 2013). As set forth in
     the Order, Kirkland will provide ten business days’ notice to the Debtors, the U.S. Trustee, and any official
     committee before implementing any periodic increases, and shall file such notice with the Court.

                                                            6
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                Desc Main
                                Document    Page 43 of 102



 of such expenses include postage, overnight mail, courier delivery, transportation, overtime

 expenses, computer-assisted legal research, photocopying, airfare, meals, and lodging.

        15.     To ensure compliance with all applicable deadlines in these chapter 11 cases,

 Kirkland utilizes the services of overtime secretaries. Kirkland charges fees for these services

 pursuant to the Engagement Letter between Kirkland and the Debtors, which permits Kirkland to

 bill the Debtors for overtime secretarial charges that arise out of business necessity. In addition,

 Kirkland professionals also may charge their overtime meals and overtime transportation to the

 Debtors consistent with prepetition practices.

        16.     Kirkland currently charges the Debtors $0.16 per page for standard duplication in

 its offices in the United States. Notwithstanding the foregoing and consistent with the Local Rules,

 Kirkland will charge no more than $0.10 per page for standard duplication services in these chapter

 11 cases. Kirkland does not charge its clients for incoming facsimile transmissions. Kirkland has

 negotiated a discounted rate for Westlaw computer-assisted legal research. Computer-assisted

 legal research is used whenever the researcher determines that using Westlaw is more cost effective

 than using traditional (non-computer assisted legal research) techniques.

                     Compensation Received by Kirkland from the Debtors

        17.     Per the terms of the Engagement Letter, on November 2, 2022, the Debtors paid

 $200,000 to Kirkland, which, as stated in the Engagement Letter, constituted an “advance payment

 retainer” as defined in Rule 1.15(c) of the Illinois Rules of Professional Conduct and Dowling v.

 Chicago Options Assoc., Inc., 875 N.E.2d 1012, 1018 (Ill. 2007). Subsequently, the Debtors paid

 to Kirkland additional advance payment retainer totaling $1,805,331.68 in the aggregate. As stated

 in the Engagement Letter, any advance payment retainer is earned by Kirkland upon receipt, any

 advance payment retainer becomes the property of Kirkland upon receipt, the Debtors no longer

                                                  7
Case 23-13131-CMG              Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                              Desc Main
                                     Document    Page 44 of 102



 have a property interest in any advance payment retainer upon Kirkland’s receipt, any advance

 payment retainer will be placed in Kirkland’s general account and will not be held in a client trust

 account, and the Debtors will not earn any interest on any advance payment retainer. 8

         18.       As of the Petition Date, the Debtors did not owe Kirkland any amounts for legal

 services rendered before the Petition Date. Although certain expenses and fees may have been

 incurred, but not yet applied to Kirkland’s advance payment retainer, Kirkland’s total advance

 payment retainer always exceeded any amounts listed or to be listed on statements describing

 services rendered and expenses incurred (on a “rates times hours” and “dates of expenses incurred”

 basis) after February 22, 2023.

         19.       Pursuant to Bankruptcy Rule 2016(b), Kirkland has not shared nor agreed to share

 (a) any compensation it has received or may receive with another party or person, other than with

 the partners, associates, and contract attorneys associated with Kirkland or (b) any compensation

 another person or party has received or may receive.

                              Statement Regarding U.S. Trustee Guidelines

         20.       Kirkland shall apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Debtors’ chapter 11 cases in

 compliance with sections 330 and 331 of the Bankruptcy Code and applicable provisions of the

 Bankruptcy Rules, Local Rules, and any other applicable procedures and orders of the Court.



 8   The Engagement Letter provides that Kirkland may continue to hold any remaining prepetition advance payment
     retainer during the pendency of a chapter 11 case rather than applying such advance payment retainer to
     postpetition fees and expenses. Kirkland evaluates whether to retain any remaining prepetition advance payment
     retainer on a case-by-case basis. In this particular case, Kirkland has elected not to hold any remaining prepetition
     advance payment retainer but, instead, will apply any remaining advance payment retainer to postpetition fees
     and expenses as such fees and expenses are allowed by the Court. Notwithstanding the foregoing, Kirkland will
     reserve amounts from the prepetition advance payment retainer that would otherwise be applied toward payment
     of postpetition fees and expenses as is necessary and appropriate to compensate and reimburse Kirkland for fees
     or expenses incurred on or prior to the Petition Date consistent with its ordinary course billing practices.

                                                            8
Case 23-13131-CMG        Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                               Document    Page 45 of 102



 Kirkland also intends to make a reasonable effort to comply with the U.S. Trustee’s requests for

 information and additional disclosures as set forth in the Guidelines for Reviewing Applications

 for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330 by Attorneys in

 Larger Chapter 11 Cases Effective As of November 1, 2013 (the “Revised UST Guidelines”), both

 in connection with this Application and the interim and final fee applications to be filed by

 Kirkland in these chapter 11 cases.

                   Attorney Statement Pursuant to Revised UST Guidelines

        21.            The following is provided in response to the request for additional

 information set forth in Paragraph D.1. of the Revised UST Guidelines:

                a. Question: Did Kirkland agree to any variations from, or alternatives to,
                   Kirkland’s standard billing arrangements for this engagement?

                   Answer: No. Kirkland and the Debtors have not agreed to any variations from,
                   or alternatives to, Kirkland’s standard billing arrangements for this
                   engagement. The rate structure provided by Kirkland is appropriate and is not
                   significantly different from (a) the rates that Kirkland charges for other
                   non-bankruptcy representations or (b) the rates of other comparably skilled
                   professionals.

                b. Question: Do any of the Kirkland professionals in this engagement vary their
                   rate based on the geographic location of the Debtors’ chapter 11 cases?

                   Answer: No. The hourly rates used by Kirkland in representing the Debtors are
                   consistent with the rates that Kirkland charges other comparable chapter 11
                   clients, regardless of the location of the chapter 11 case.

                c. Question: If Kirkland has represented the Debtors in the 12 months prepetition,
                   disclose Kirkland’s billing rates and material financial terms for the prepetition
                   engagement, including any adjustments during the 12 months prepetition. If
                   Kirkland’s billing rates and material financial terms have changed postpetition,
                   explain the difference and the reasons for the difference.




                                                  9
Case 23-13131-CMG             Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                             Desc Main
                                    Document    Page 46 of 102



                       Answer: Kirkland’s current hourly rates for services rendered on behalf of the
                       Debtors range as follows: 9

                                 Billing Category                   U.S. Range
                                      Partners                     $1,195-$2,245
                                    Of Counsel                      $820-$2,125
                                     Associates                     $685-$1,395
                                 Paraprofessionals                   $295-$575


                       From October 29, 2022, through December 31, 2022, Kirkland’s hourly rates
                       for services rendered on behalf of the Debtors ranged as follows:

                                 Billing Category                   U.S. Range
                                      Partners                     $1,135-$1,995
                                    Of Counsel                      $805-$1,845
                                     Associates                     $650-$1,245
                                 Paraprofessionals                   $265-$495


                  d. Question: Have the Debtors approved Kirkland’s budget and staffing plan,
                     and, if so, for what budget period?

                       Answer: Yes, for the period from April 17, 2023 through July 31, 2023.

                                         Kirkland’s Disinterestedness

         22.      In connection with its proposed retention by the Debtors in these chapter 11 cases,

 Kirkland undertook to determine whether it had any conflicts or other relationships that might

 cause it not to be disinterested or to hold or represent an interest adverse to the Debtors.

 Specifically, Kirkland obtained from the Debtors and their representatives the names of individuals

 and entities that may be parties in interest in these chapter 11 cases (the “Potential Parties in

 Interest”) and such parties are listed on Schedule 1 hereto. Kirkland has searched its electronic

 database for its connections to the entities listed on Schedule 1 hereto. In addition, after Kirkland




 9   While the rate ranges provided for in this Application may change if an individual leaves or joins Kirkland, and
     if any such individual’s billing rate falls outside the ranges disclosed above, Kirkland does not intend to update
     the ranges for such circumstances.

                                                          10
Case 23-13131-CMG               Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                              Desc Main
                                      Document    Page 47 of 102



 identified all client connections with the parties in interest over a specified time period, Kirkland

 circulated a survey email to all Kirkland attorneys who billed 10 or more hours to such clients

 during the prior six years. Further, beyond the individual emails, Kirkland sent a daily report of

 new matters firm wide. All Kirkland attorneys are responsible for reviewing the daily report of

 new matters and raising any potential concerns with respect to new representations. Kirkland did

 not receive any answers in the affirmative to these emails. Additionally, to the extent that I have

 been able to ascertain that Kirkland has been retained within the last three years to represent any

 of the Potential Parties in Interest (or their affiliates, as the case may be) in matters unrelated to

 these cases, such facts are disclosed on Schedule 2 attached hereto.

          23.       Kirkland and certain of its partners and associates may have in the past represented,

 may currently represent, and likely in the future will represent, entities that may be parties in

 interest in these chapter 11 cases in connection with matters unrelated (except as otherwise

 disclosed herein) to the Debtors and these chapter 11 cases. Kirkland has searched its electronic

 database for its connections to the entities listed on Schedule 1 attached hereto. The information

 listed on Schedule 1 may have changed without our knowledge and may change during the

 pendency of these chapter 11 cases. Accordingly, Kirkland will update this Declaration as

 necessary and when Kirkland becomes aware of additional material information. The following

 is a list of the categories that Kirkland has searched: 10

  Schedule         Category
  1(a)             Debtors and Debtor Affiliates
  1(b)             Current Directors and Officers
  1(c)             Former Directors and Officers
  1(d)             Bankruptcy Judges

 10   Kirkland’s inclusion of parties in the following Schedules is solely to illustrate Kirkland’s conflict search process
      and is not an admission that any party has a valid claim against the Debtors or that any party properly belongs in
      the schedules or has a claim or legal relationship to the Debtors of the nature described in the schedules.

                                                            11
Case 23-13131-CMG               Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                              Desc Main
                                      Document    Page 48 of 102



  1(e)             Banks
  1(f)             Benefits Providers
  1(g)             Significant Equity Holders
  1(h)             Insurance – Surety Bonds
  1(i)             Landlords
  1(j)             Lenders
  1(k)             Letters of Credit
  1(l)             Litigation Parties
  1(m)             Ordinary Course Professionals
  1(n)             Restructuring Professionals
  1(o)             Significant Vendors
  1(p)             Taxing Authorities
  1(q)             U.S. Trustee Personnel and Bankruptcy Judges
  1(r)             Utilities
          24.       To the best of my knowledge, (a) Kirkland is a “disinterested person” within the

 meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of the

 Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates and

 (b) Kirkland has no connection to the Debtors, their creditors, or other parties in interest, except

 as may be disclosed in this Declaration.

          25.       Listed on Schedule 2 to this Declaration are the results of Kirkland’s conflicts

 searches of the above-listed entities.11 For the avoidance of doubt, Kirkland will not commence a

 cause of action in these chapter 11 cases against the entities listed on Schedule 2 that are current

 clients of Kirkland (including entities listed below under the “Specific Disclosures” section of this



 11   As referenced in Schedule 2, the term “current client” means an entity listed as a client in Kirkland’s conflicts
      search system to whom time was posted in the 12 months preceding the Petition Date. As referenced in
      Schedule 2, the term “former client” means an entity listed as a client in Kirkland’s conflicts search system to
      whom time was posted between 12 and 36 months preceding the Petition Date. As referenced in Schedule 2, the
      term “closed client” means an entity listed as a client in Kirkland’s conflicts search system to whom time was
      posted in the 36 months preceding the Petition Date, but for which the client representation has been closed.
      Whether an actual client relationship exists can only be determined by reference to the documents governing
      Kirkland’s representation rather than its potential listing in Kirkland’s conflicts search system. The list generated
      from Kirkland’s conflicts search system is over-inclusive. As a general matter, Kirkland discloses connections
      with “former clients” or “closed clients” for whom time was posted in the last 36 months, but does not disclose
      connections if time was billed more than 36 months before the Petition Date.

                                                            12
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                  Desc Main
                                Document    Page 49 of 102



 Declaration) unless Kirkland has an applicable waiver on file or first receives a waiver from such

 entity allowing Kirkland to commence such an action. To the extent that a waiver does not exist

 or is not obtained from such entity and it is necessary for the Debtors to commence an action

 against that entity, the Debtors will be represented in such particular matter by conflicts counsel.

        26.     None of the entities listed on Schedule 2 represented more than one percent of

 Kirkland’s fee receipts for the twelve months preceding the Petition Date.

        27.     Kirkland’s conflicts search of the entities listed on Schedules 1(a) – 1(r) (that

 Kirkland was able to locate using its reasonable efforts) reveals, to the best of my knowledge, that

 those Kirkland attorneys and paraprofessionals who previously worked at other law firms that

 represented such entities in these chapter 11 cases have not worked on matters relating to the

 Debtors’ restructuring efforts while at Kirkland.

        28.     Based on the conflicts search conducted to date and described herein, to the best of

 my knowledge, neither I, Kirkland, nor any partner or associate thereof, insofar as I have been able

 to ascertain, have any connection with the Debtors, their creditors, or any other parties in interest,

 their respective attorneys and accountants, the United States Trustee for the District of New Jersey

 (the “U.S. Trustee”), any person employed by the U.S. Trustee, or any Bankruptcy Judge currently

 serving on the United States Bankruptcy Court for the District of New Jersey, except as disclosed

 or otherwise described herein.

        29.     Kirkland will review its files periodically during the pendency of these chapter 11

 cases to ensure that no conflicts or other disqualifying circumstances exist or arise. If any new

 relevant facts or relationships are discovered or arise, Kirkland will use reasonable efforts to

 identify such further developments and will promptly file a supplemental declaration, as required

 by Bankruptcy Rule 2014(a).

                                                  13
Case 23-13131-CMG          Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                    Desc Main
                                 Document    Page 50 of 102



         30.     Generally, it is Kirkland’s policy to disclose entities in the capacity that they first

 appear in a conflicts search. For example, if an entity already has been disclosed in this Declaration

 in one capacity (e.g., a customer), and the entity appears in a subsequent conflicts search in a

 different capacity (e.g., a vendor), Kirkland does not disclose the same entity again in supplemental

 declarations, unless the circumstances are such in the latter capacity that additional disclosure is

 required.

         31.     From time to time, certain former partners of Kirkland are entitled to compensation

 for a limited period of time following their departure from the firm.

         32.     From time to time, Kirkland has referred work to other professionals to be retained

 in these chapter 11 cases. Likewise, certain such professionals have referred work to Kirkland.

         33.     Certain insurance companies pay the legal bills of Kirkland clients. Some of these

 insurance companies may be involved in these chapter 11 cases. None of these insurance

 companies, however, are Kirkland clients as a result of the fact that they pay legal fees on behalf

 of Kirkland clients.

                                          Specific Disclosures

         34.     As specifically set forth below and in the attached exhibits, Kirkland represents

 certain of the Debtors’ creditors, equity security holders, or other entities that may be parties in

 interest in ongoing matters unrelated to the Debtors and these chapter 11 cases. None of the

 representations described herein are materially adverse to the interests of the Debtors’ estates.

 Moreover, pursuant to section 327(c) of the Bankruptcy Code, Kirkland is not disqualified from

 acting as the Debtors’ counsel merely because it represents certain of the Debtors’ creditors, equity

 security holders, or other entities that may be parties in interest in matters unrelated to these chapter

 11 cases.

                                                    14
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                  Desc Main
                                Document    Page 51 of 102



 A.      Connections to Holders of Equity Interests in the Debtors.

         35.    As disclosed on Schedule 2, Kirkland currently represents, and in the past has

 represented, Oaktree Capital Management, L.P., The Canadian Pension Plan Investment Board,

 CION Ares Diversified Credit Fund, and/or certain of their affiliates (collectively, the “Equity

 Holders”) on a variety of matters. Kirkland has not represented, and will not represent, the Equity

 Holders in connection with any matter in these chapter 11 cases during the pendency of these

 chapter 11 cases. All current and prior Kirkland representations of the Equity Holders have been

 in matters unrelated to the Debtors or these chapter 11 cases. I do not believe that Kirkland’s

 current or prior representation of the Equity Holders precludes Kirkland from meeting the

 disinterestedness standard under the Bankruptcy Code.

 B.      Connections to Officers and Directors.

         36.    As disclosed below and on Schedule 2, Kirkland currently represents, and in the

 past has represented, certain affiliates, subsidiaries and entities associated with the Debtors’

 current and recent former officers and directors. I do not believe that Kirkland’s current or prior

 representation of the affiliates, subsidiaries, and entities associated with certain officers and

 directors precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy

 Code.

         37.    Ryan Esko and Matthew Kahn, directors of certain of the Debtors, have served, or

 may serve from time to time, in various management and/or director capacities of certain Kirkland

 clients or affiliates thereof. I do not believe that Kirkland’s current or prior representation of the

 clients for which Messrs. Esko or Kahn served in management and/or director capacities precludes

 Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.




                                                  15
Case 23-13131-CMG          Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                  Desc Main
                                 Document    Page 52 of 102



 C.     Connections to Certain Financial Institutions.

        38.     As disclosed on Schedule 2, Kirkland currently represents, or in the past has

 represented, Oaktree Capital Management, L.P., The Canadian Pension Plan Investment Board,

 Albacore Capital LLC, Bank of America Securities LLC, Barclays Capital Inc., First Horizon

 National Corporation, JPMorgan Chase Bank, N.A., Paypal, Inc., The PNC Financial Services

 Group, Inc., TD Securities Inc., Trustmark, Wells Fargo Bank, N.A., CION Ares Diversified

 Credit Fund, Fidelity Investments, Gordon Brothers Brands, LLC, HG Vora Capital Management

 LLC, HSBC Holdings plc, UBS Asset Management Funds Limited, Whitebox Advisors LLC,

 Whitehorse Liquidity Partners, and/or certain of their affiliates (collectively, the “Certain Financial

 Institutions”) on a variety of matters. The Certain Financial Institutions or affiliates thereof

 comprise of one or more of the following: (a) a prepetition lender to the Debtors; (b) an entity with

 whom the Debtors have a banking or financial relationship; or (c) current or former agents under

 certain of the Debtors’ credit facility agreements. Kirkland’s current and prior representations of

 the Certain Financial Institutions are in matters unrelated to the Debtors and these chapter 11 cases.

 Kirkland has not represented, and will not represent, the Certain Financial Institutions in

 connection with any matter in these chapter 11 cases during the pendency of these chapter 11 cases.

 I do not believe that Kirkland’s current or prior representation of the Certain Financial Institutions

 precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

 D.     Connections to Other Entities.

        39.     As disclosed on Schedule 2, Kirkland currently represents, and in the past has

 represented, Constellation Energy Corp. and certain of its affiliates (collectively, “Constellation”),

 one of the Debtors’ utility providers, in a variety of matters. Kirkland’s current and prior

 representations of Constellation are in matters unrelated to the Debtors and these chapter 11 cases.


                                                   16
Case 23-13131-CMG          Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                   Desc Main
                                 Document    Page 53 of 102



 Kirkland has not represented, and will not represent, Constellation in connection with any matter

 in these chapter 11 cases during the pendency of these chapter 11 cases. I do not believe that

 Kirkland’s representation of Constellation precludes Kirkland from meeting the disinterestedness

 standard under the Bankruptcy Code.

         40.     As disclosed on Schedule 2, Kirkland currently represents, and in the past has

 represented, AXA REIM SGP and certain of its affiliates (collectively, “AXA”). Axa is an affiliate

 of one of the Debtors’ insurance providers. Kirkland’s current and prior representations of AXA

 are in matters unrelated to the Debtors and these chapter 11 cases. Kirkland has not represented,

 and will not represent, AXA in connection with any matter in these chapter 11 cases during the

 pendency of these chapter 11 cases. I do not believe that Kirkland’s representation of AXA

 precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

         41.     As disclosed on Schedule 2, Kirkland currently represents, and in the past has

 represented, certain of the Debtors’ vendors, including KPG LLP, Kyndryl Inc., LivePerson LLC,

 Meta Platforms, Inc., and/or certain of their subsidiaries and affiliates (collectively, the “Contract

 Vendors”) in a variety of matters. Kirkland’s current and prior representations of the Contract

 Vendors are in matters unrelated to the Debtors and these chapter 11 cases. Kirkland has not

 represented, and will not represent, the Contract Vendors in connection with any matter in these

 chapter 11 cases during the pendency of these chapter 11 cases. I do not believe that Kirkland’s

 representation of the Contract Vendors precludes Kirkland from meeting the disinterestedness

 standard under the Bankruptcy Code.

         42.     As disclosed on Schedule 2, Kirkland in the past has represented certain of the

 Debtors’ benefits providers, including Cigna Health and Life Insurance Co., Quantum Health, Inc.,

 and certain of their affiliates (collectively, “Benefits Providers”) in a variety of matters. Kirkland’s

                                                   17
Case 23-13131-CMG             Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                           Desc Main
                                    Document    Page 54 of 102



 current and prior representations of the Benefits Providers are in matters unrelated to the Debtors

 and these chapter 11 cases. Kirkland has not represented, and will not represent, the Benefits

 Providers in connection with any matter in these chapter 11 cases during the pendency of these

 chapter 11 cases. I do not believe that Kirkland’s representation of the Benefits Providers

 precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

 E.       Other Chapter 11 Professionals.

          43.      As disclosed below and on Schedule 2, Kirkland currently represents, and in the

 past has represented, certain affiliates, subsidiaries, and entities associated with various

 professionals that have been retained, or that the Debtors seek to retain, in connection with these

 chapter 11 cases. Kirkland’s current and prior representations of these professionals have been in

 matters unrelated to the Debtors or these chapter 11 cases. Kirkland has not represented, and will

 not represent, any such professionals in connection with any matter in these chapter 11 cases during

 the pendency of these chapter 11 cases. I do not believe that Kirkland’s current or prior

 representation of these professionals precludes Kirkland from meeting the disinterestedness

 standard under the Bankruptcy Code.

          44.      On April 17, 2023, the Debtors were authorized to assume a consulting agreement

 with Gordon Brothers Retail Partners, LLC related to the sale of inventory. 12 As disclosed on

 Schedule 2, Kirkland currently represents, and in the past has represented, Gordon Brothers

 Brands, LLC and certain of its affiliates (collectively, “Gordon Brothers”) in a variety of matters.

 Kirkland’s current and prior representations of Gordon Brothers are in matters unrelated to the

 Debtors and these chapter 11 cases. Kirkland has not represented, and will not represent, Gordon


 12   See Interim Order (I) Authorizing the Debtors to Assume and Perform Under the Consulting Agreement Related
      to the Sale of Inventory, (II) Approving Procedures for the Sale of Inventory, (III) Approving Modifications to
      Certain Customer Programs, and (IV) Granting Related Relief [Docket No. 67].

                                                         18
Case 23-13131-CMG          Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                   Desc Main
                                 Document    Page 55 of 102



 Brothers in connection with any matter in these chapter 11 cases during the pendency of these

 chapter 11 cases. I do not believe that Kirkland’s representation of Gordon Brothers precludes

 Kirkland from meeting the disinterestedness standard under the Bankruptcy Code.

         45.     Certain of the Debtors’ lenders have retained B. Riley Financial, Inc. As disclosed

 on Schedule 2, Kirkland currently represents, and in the past has represented, B. Riley FBR, Inc.

 and certain of its affiliates (collectively, “B. Riley”) in a variety of matters. Kirkland’s current and

 prior representations of B. Riley are in matters unrelated to the Debtors and these chapter 11 cases.

 Kirkland has not represented, and will not represent, B. Riley in connection with any matter in

 these chapter 11 cases during the pendency of these chapter 11 cases. I do not believe that

 Kirkland’s representation of B. Riley precludes Kirkland from meeting the disinterestedness

 standard under the Bankruptcy Code.

         46.     The Debtors’ proposed bankruptcy co-counsel is Cole Schotz. As disclosed on

 Schedule 2, Kirkland in the past has represented Cole Schotz in a variety of matters. All of

 Kirkland’s prior representations of Cole Schotz were unrelated to the Debtors or these chapter 11

 cases. Kirkland has not represented, and will not represent, Cole Schotz in connection with any

 matter in these chapter 11 cases during the pendency of these chapter 11 cases. I do not believe

 that Kirkland’s prior representation of Cole Schotz precludes Kirkland from meeting the

 disinterestedness standard under the Bankruptcy Code.

         47.     The Debtors’ proposed investment banker and financial advisor is Houlihan Lokey

 Capital, Inc. As disclosed on Schedule 2, Kirkland in the past has represented Houlihan Lokey

 EMEA LLP (“Houlihan”) in a variety of matters. Kirkland’s prior representations of Houlihan

 were in matters unrelated to the Debtors or these chapter 11 cases. Kirkland has not represented,

 and will not represent, Houlihan Lokey in connection with any matter in these chapter 11 cases

                                                   19
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                                Document    Page 56 of 102



 during the pendency of these chapter 11 cases. I do not believe that Kirkland’s prior representation

 of Houlihan precludes Kirkland from meeting the disinterestedness standard under the Bankruptcy

 Code.

         48.    The Debtors’ proposed tax consultant is Deloitte Tax LLP. As disclosed on

 Schedule 2, Kirkland currently represents, and in the past has represented, Deloitte LLP and

 certain of its affiliates (collectively, “Deloitte”) in a variety of matters. Kirkland’s current and

 prior representations of Deloitte are in matters unrelated to the Debtors and these chapter 11 cases.

 Kirkland has not represented, and will not represent, Deloitte in connection with any matter in

 these chapter 11 cases during the pendency of these chapter 11 cases. I do not believe that

 Kirkland’s current or prior representation of Deloitte precludes Kirkland from meeting the

 disinterestedness standard under the Bankruptcy Code.

 F.      Kirkland Attorney and Employee Investments.

         49.    From time to time, Kirkland partners, of counsel, associates, and employees

 personally invest in mutual funds, retirement funds, private equity funds, venture capital funds,

 hedge funds, and other types of investment funds (the “Investment Funds”), through which such

 individuals indirectly acquire an interest in debt or equity securities of many companies, one of

 which may be one of the Debtors, their creditors, or other parties in interest in these chapter 11

 cases, often without Kirkland’s knowledge. Each Kirkland person generally owns substantially

 less than one percent of such Investment Fund, does not manage or otherwise control such

 Investment Fund, and has no influence over the Investment Fund’s decision to buy, sell, or vote

 any particular security. The Investment Fund is generally operated as a blind pool, meaning that

 when the Kirkland persons make an investment in the Investment Fund, he, she, or they do not




                                                  20
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                  Desc Main
                                Document    Page 57 of 102



 know what securities the blind pool Investment Fund will purchase or sell, and have no control

 over such purchases or sales.

        50.     From time to time one or more Kirkland partners and of counsel voluntarily choose

 to form an entity (a “Passive-Intermediary Entity”) to invest in one or more Investment Funds.

 Such Passive-Intermediary Entity is composed only of persons who were Kirkland partners and of

 counsel at the time of the Passive-Intermediary Entity’s formation (although some may later

 become former Kirkland partners and of counsel). Participation in such a Passive-Intermediary

 Entity is wholly voluntary and only a portion of Kirkland’s partners and of counsel choose to

 participate. The Passive-Intermediary Entity generally owns substantially less than one percent of

 any such Investment Fund, does not manage or otherwise control such Investment Fund, and has

 no influence over the Investment Fund’s decision to buy, sell, or vote any particular security. Each

 Investment Fund in which a Passive-Intermediary Entity invests is operated as a blind pool, so that

 the Passive-Intermediary Entity does not know what securities the blind pool Investment Funds

 will purchase or sell, and has no control over such purchases or sales.            And, indeed, the

 Passive-Intermediary Entity often arranges for statements and communications from certain

 Investment Funds to be sent solely to a blind administrator who edits out all information regarding

 the identity of the Investment Fund’s underlying investments, so that the Passive-Intermediary

 Entity does not learn (even after the fact) the identity of the securities purchased, sold, or held by

 the Investment Fund. To the extent the Passive-Intermediary Entity is or becomes aware of the

 identity of the securities purchased, sold, or held by the Investment Funds (“Known Holdings”),

 such Known Holdings are submitted to Kirkland’s conflict checking system.

        51.     From time to time, Kirkland partners, of counsel, associates, and employees

 personally directly acquire a debt or equity security of a company which may be (or become) one

                                                  21
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                                Document    Page 58 of 102



 of the Debtors, their creditors, or other parties in interest in these chapter 11 cases. Kirkland has

 a long-standing policy prohibiting attorneys and employees from using confidential information

 that may come to their attention in the course of their work, so that all Kirkland attorneys and

 employees are barred from trading in securities with respect to which they possess confidential

 information.

 G.     Other Disclosures.

        52.     Finally, certain interrelationships exist among the Debtors. Nevertheless, the

 Debtors have advised Kirkland that the Debtors’ relationships to each other do not pose any

 conflict of interest because of the general unity of interest among the Debtors. Insofar as I have

 been able to ascertain, I know of no conflict of interest that would preclude Kirkland’s joint

 representation of the Debtors in these chapter 11 cases.

        53.     The spouse of Kirkland partner Helen E. Witt, P.C. is a managing director of

 JPMorgan Chase & Co., whose affiliate is a lender to the Debtors. Out of an abundance of caution,

 Kirkland has instituted formal screening measures to screen Ms. Witt from all aspects of

 Kirkland’s representation of the Debtors. I do not believe that this connection precludes Kirkland

 from meeting the disinterestedness standard under the Bankruptcy Code.

        54.     Jonathan S. Henes, a former partner of Kirkland, is the CEO and principal of C

 Street Advisory Group, LLC (“C Street”). Kirkland currently represents, and in the past has

 represented, certain affiliates, subsidiaries, and entities associated with C. Street. C Street is

 providing services to the Debtors in the ordinary course as a restructuring public relations advisor.

 Mr. Henes did not work on the Debtors’ cases while at Kirkland. Kirkland’s current and prior

 representations of C Street have been unrelated to the Debtors and these chapter 11 cases. I do not




                                                  22
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                Desc Main
                                Document    Page 59 of 102



 believe that this connection precludes Kirkland from meeting the disinterestedness standard under

 the Bankruptcy Code.

        55.     The spouse of Kirkland associate Christopher Grady is employed by PNC Financial

 Services Group, Inc., whose affiliate is one of the Debtors’ cash management banks. I do not

 believe that this connection precludes Kirkland from meeting the disinterestedness standard under

 the Bankruptcy Code.

        56.     Reginald Brown, a Kirkland partner, is a board member of Blackstone Inc., an

 affiliate of one of the Debtors’ landlords. I do not believe that this connection precludes Kirkland

 from meeting the disinterestedness standard under the Bankruptcy Code.

        57.     Furthermore, prior to joining Kirkland, certain Kirkland attorneys represented

 clients adverse to Kirkland’s current and former restructuring clients. Certain of these attorneys

 (the “Screened Kirkland Attorneys”) will not perform work in connection with Kirkland’s

 representation of the Debtors and will not have access to confidential information related to the

 representation. Kirkland’s formal ethical screen provides sufficient safeguards and procedures to

 prevent imputation of conflicts by isolating the Screened Kirkland Attorneys and protecting

 confidential information.

        58.     Under Kirkland’s screening procedures, Kirkland’s conflicts department distributes

 a memorandum to all Kirkland attorneys and legal assistants directing them as follows: (a) not to

 discuss any aspects of Kirkland’s representation of the Debtors with the Screened Kirkland

 Attorneys; (b) to conduct meetings, phone conferences, and other communications regarding

 Kirkland’s representation of the Debtors in a manner that avoids contact with the Screened

 Kirkland Attorneys; (c) to take all measures necessary or appropriate to prevent access by the

 Screened Kirkland Attorneys to the files or other information related to Kirkland’s representation

                                                 23
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                Desc Main
                                Document    Page 60 of 102



 of the Debtors; and (d) to avoid contact between the Screened Kirkland Attorneys and all Kirkland

 personnel working on the representation of the Debtors unless there is a clear understanding that

 there will be no discussion of any aspects of Kirkland’s representation of the Debtors.

 Furthermore, Kirkland already has implemented procedures to block the Screened Kirkland

 Attorneys from accessing files and documents related to the Debtors that are stored in Kirkland’s

 electronic document managing system.

                           Affirmative Statement of Disinterestedness

        59.     Based on the conflicts search conducted to date and described herein, to the best of

 my knowledge and insofar as I have been able to ascertain, (a) Kirkland is a “disinterested person”

 within the meaning of section 101(14) of the Bankruptcy Code, as required by section 327(a) of

 the Bankruptcy Code, and does not hold or represent an interest adverse to the Debtors’ estates

 and (b) Kirkland has no connection to the Debtors, their creditors, or other parties in interest,

 except as may be disclosed herein.



                               [Remainder of Page Intentionally Left Blank]




                                                 24
Case 23-13131-CMG        Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                Desc Main
                               Document    Page 61 of 102



        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my knowledge and belief.

  Dated: May 16, 2023                             Respectfully submitted,

                                                  /s/ Christopher T. Greco
                                                 Christopher T. Greco
                                                 as President of Christopher T. Greco, P.C., as
                                                 Partner of Kirkland & Ellis LLP; and as Partner
                                                 of Kirkland & Ellis International LLP




                                                25
Case 23-13131-CMG             Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                             Desc Main
                                    Document    Page 62 of 102



                                                     Schedule 1

        The following lists contain the names of reviewed entities as described more fully in the
 Declaration of Christopher T. Greco in Support of the Debtors’ Application for the Entry of an
 Order Authorizing the Retention and Employment of Kirkland & Ellis LLP and Kirkland & Ellis
 International LLP as Attorneys for the Debtors and Debtors in Possession Effective as of April 17,
 2023 (the “Greco Declaration”).1 Where the names of the entities reviewed are incomplete or
 ambiguous, the scope of the search was intentionally broad and inclusive, and Kirkland & Ellis
 LLP and Kirkland & Ellis International LLP reviewed each entity in its records, as more fully
 described in the Greco Declaration, matching the incomplete or ambiguous name.




 1   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Greco Declaration.
Case 23-13131-CMG     Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                            Document    Page 63 of 102



                                    SCHEDULE 1
                                    List of Schedules

 Schedule   Category
 1(a)       Debtors and Debtor Affiliates
 1(b)       Current Directors and Officers
 1(c)       Former Directors and Officers
 1(d)       Bankruptcy Judges
 1(e)       Banks
 1(f)       Benefits Providers
 1(g)       Significant Equity Holders
 1(h)       Insurance - Surety Bonds
 1(i)       Landlords
 1(j)       Lenders
 1(k)       Letters of Credit
 1(l)       Litigation Parties
 1(m)       Ordinary Course Professionals
 1(n)       Restructuring Professionals
 1(o)       Significant Vendors
 1(p)       Taxing Authorities
 1(q)       U.S. Trustee Personnel and Bankruptcy Judges
 1(r)       Utilities
Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                              Document    Page 64 of 102



                                    SCHEDULE 1(a)
                            1(a)   Debtors and Debtor Affiliates

 Aligned for the Frontline LLC
 Blueprint Registry LLC
 Bridge Holding Ltd., The
 David's Bridal LLC
 David's Bridal UK Ltd.
 DBI Holdco II Inc.
 DBI Investors Inc.
 DBI Midco Inc.
 Executive Management Ltd.
 Fillberg Ltd.
 Maxtel Ltd.
 Multihulls Trading Ltd.
 Pretty Fashions Inc.
 Wingreat Ltd.
Case 23-13131-CMG   Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                          Document    Page 65 of 102



                               SCHEDULE 1(b)
                          Current Directors and Officers

 Aloise, David
 Cooper, Robert
 Esko, Ryan
 Fields, Venita
 Hennesey, Karen
 Kahn, Matthew
 Kinkade, Lori
 Kuster, Jeff
 Lockyer, Charles
 Marcum, James
 Moore, David
 Pope, Christine
 Richter, Scott
 Stern, Illana
Case 23-13131-CMG     Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                            Document    Page 66 of 102



                                SCHEDULE 1(c)
                            Former Directors and Officers

 Anthony, Troy
 Auletta, Elio
 Barton, Christine
 Crystal, Elizabeth
 Griffith, Scott R.
 Leitgeb, Terri
 Rice, Katherine
 Tien, Bing
 Walker, Gary
 Warzel, Jeffrey
Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                              Document    Page 67 of 102



                                  SCHEDULE 1(d)
                                  Bankruptcy Judges

 Altenburg, Andrew B., Jr.
 Ferguson, Kathryn C.
 Gambardella, Rosemary
 Gravelle, Christine M.
 Kaplan, Michael B.
 Meisel, Stacey L.
 Papalia, Vicent F.
 Poslusny, Jerrold N., Jr.
 Sherwood, John K.
Case 23-13131-CMG      Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                             Document    Page 68 of 102



                                 SCHEDULE 1(e)
                                       Banks

 Bank Champaign
 Bank of America NA
 Barclays
 Central Pacific Bank
 Chemung Canal Bank
 Citizens Bank
 Fifth Third Bank
 First Citizens Bank
 First Horizon Bank
 Huntington National Bank
 JPMorgan Chase Bank
 Key Bank
 Paypal
 PNC Bank
 Regions Bank
 Rockland Trust
 Stripe
 TD Canada Trust
 Trustmark National Bank
 US Bank
 Wells Fargo & Co.
 Whitney Bank
Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                              Document    Page 69 of 102



                                       SCHEDULE 1(f)
                                       Benefits Providers

 24 PetWatch Insurance Programs
 Carebridge Corp.
 CIGNA
 CirrusMD Inc.
 First Stop Health LLC
 Ginger.io of CA Medical PC
 Hawaii Medical SVC Association
 Hinge Health Inc.
 Lincoln Life Assurance Co.
 Lincoln National Life Insurance Co.
 Livongo Health Inc.
 Mercer
 Meritain Health Inc.
 Omada Health Inc.
 OptumRX PBM of IL Inc.
 Quantum Health Inc.
 WexHealth
Case 23-13131-CMG      Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                             Document    Page 70 of 102



                                   SCHEDULE 1(g)
                                Significant Equity Holders

 Arbour Lane – TX LP
 Canada Pension Plan Investment Board, The
 Cion
 Eaton Vance
 Edgepoint
 Oaktree
 Petrus Asset Management
 Rimrock
 Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45           Desc Main
                                 Document    Page 71 of 102



                                        SCHEDULE 1(h)
                                     Insurance - Surety Bonds

ACE American Insurance Co.                        Navigators
AIG                                               Nevada, State of, Department of Taxation
AIG Specialty Insurance                           North Dakota, State of
AIG Specialty Insurance Co.                       PG&E
America Insurance Corp.                           Public Service Co. of Oklahoma
Ascot Insurance Co.                               Safeco Insurance Co. of America
AXA Insurance UK plc                              Southern California Edison Co.
Axis Excess Insurance                             Starr Marine (CAN)
Axis Insurance Co.                                Starr Marine (UK)
AXIS Surplus Insurance Co.                        Starr Marine (US)
Beazley Insurance Co. Inc.                        StarStone Specialty Insurance Co.
Berkley Insurance Co.                             Steadfast Insurance Co.
Berkley Professional Liability                    Tampa Electric Co.
Canada, Government of, Border Services            Travelers Property Casualty Co.
     Agency                                       Twin City Fire Insurance Co.
Chattanooga, City of (TN), Electric Power         United States Fire Insurance Co.
     Board                                        United States, Government of the, Department
Chubb                                                 of Homeland Security, Bureau of Customs
Chubb ACE American Insurance Co.                      & Border Protection
Chubb Group of Insurance Cos.                     United States, Government of the, Department
CNA Insurance                                         of Homeland Security, Customs
Continental Casualty Co.                          XL Specialty Insurance Co.
Elite Insurance Corp.
Entergy Louisiana LLC
Everest EZ Excess
Everest National Insurance Co.
Fireman's Fund Insurance Co.
Florida Power & Light Co.
Great American Professional Risk Insurance
     Services Inc.
Hartford Accident & Indemnity Co.
Hartford Financial
Hartford Fire Insurance Co.
Hiscox Insurance Co.
Hudson Insurance Co.
Illinois Union Insurance Co.
Knoxville, City of (TN), Utilities Board
Liberty Insurance Underwriters Inc.
Liberty Mutual Insurance Co.
Lloyd's of London
National Union Fire Insurance Co. of Pittsburgh
     (PA)
 Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45       Desc Main
                               Document    Page 72 of 102




                                     SCHEDULE 1(i)
                                        Landlords

1000 South Vermont LLC                      Braehead Glasgow Ltd.
10345 Magnolia Ave LLC                      Braehead Park Investments Ltd.
11 Point Capital LLC                        Brixmor
1210 Weible LLC                             Brixton Real Estate Investments LLC - Pavilion
1276 Bald Hill Rd. LLC                         Series
1997-0506 Cava Ltd.                         Broadway & Pearl Associates LLC
3133 Erie Boulevard Associates LLC          Brookfield Properties
3413 Tittabawassee Rd Leasing               Buckhead Place LLC
3500 48th Street Owner LLC                  Burlington Interstate Center LLC
4212 West Wendover Avenue LLC               BVA Avenue LLC
4545 Kennedy LLC                            Cafaro
610 & San Felipe Inc.                       Calloway REIT
84 South Retail Center LLC                  CalProp Management Co.
Acadia Merrillville Realty LP               Carillon Square I LLC
ACS Adams Dairy Landing MO LLC              CBL
Agree LP                                    CDP4 Peoples Crossing
All Centers LP                              Central Valley Associates
Almonesson Associates II                    CFC Phase II LLC
Ambra Investments LLC                       Coliseum Crossing Associates LLC
ARC CTCHRNC001 LLC                          College Station Uniprop LLC
ARC SSSDLLA001 LLC                          Columbus Park Crossing Southwest LLC
ARD MacArthur LLC                           Columbus Village Shopping Center
ARG CRHAGMD001 LLC                          Commons Reno LLC, The
ARG LPLAFIN001 LLC                          Core Southside
ARG SPSPRIL001 LLC                          CREA/PPC Long Beach Towne Center PO LLC
Arnot Associates II LLC                     Cross County Owner LLC
BAM River Valley LP                         CSHV Woodlands LP
Barrywoods Holdings LLC                     CSM Investors Inc.
Bassett Place Real Estate Co. LLC           Dartmouth Crossing Master LP
BBP Partners LLC                            Davis Family LP
Belden Park Delaware LLC                    DB Taylor LLC
Beltway Crossings LLC                       DDRTC Marketplace at Mill Creek LLC
Bentall Green Oak Canada LP                 Del Amo Fashion Center Operating Co. LLC
Bershon LV Two LLC                          Delaware Cumberland Avenue Plaza LLC
Bethel Properties LLC                       Derito Walking Stick South LLC
Billou Corp.                                Dolan & Co. LLC
BMLS Investments LLC                        Donahue Schriber Realty Group LP
Bodester LLC                                DT Ahwatukee Foothills LLC
Bonefide Estates Inc.                       East Chase Properties LLC
Boone Interstate Development                Easton Gateway LLC
 Case 23-13131-CMG      Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45      Desc Main
                              Document    Page 73 of 102



El Dorado Pad 10 LP                         LBX Evergreen TH LLC
Elite Vision Investments LLC                LBX Harbison TH LLC
Emser International LLC                     LBX North Rivers LLC
Erving Ridge Consulting & Development LLC   Levin Properties LP
Fayette Town Center LLC                     Limestone Millenia Plaza LLC
Fayner Trust, The                           Lokre Development Co.
FB Festival Center LLC                      LRC Northway Mall Acquisitions LLC
Federal Realty Investment Trust             Lund Co.
Forsons Investments LLC                     M.J. Peterson Co.
FP II SC LLC                                Madison Place LLC
FPIP I Ltd.                                 Madison-Flint Properties LLC
FR Pembroke Gardens LLC                     Magnolia Commons SC LLC
Freehold Investments LLC                    Mallside Development Corp.
G&I X CenterPoint LLC                       Manana-CDIT LLC
Gateway Crossing SC LLC                     Market at Epps Bridge LLC, The
Gateway Pinole Vista LLC                    Market Pointe II LLC
GGF1 North Olmstead 2016 LLC                Market Town Center Owner LLC
GP Retail I LLC                             Marquette, Madison
Greenwood Marketplace II LLC                Mattone Group Management LLC
GSMS 2013-GCJ14 Plaza Drive LLC             Mayfaire Town Center LP
GWP-Northridge Grove LP                     May-Sun Co.
Hamilton Commons TEI Equities LLC           MCP VOA I & III LLC
Harsch Investment Corp.                     MDG Strategic Acquisition LLC
Hauppauge Properties LLC                    Mesomorph LLC
HC Atlantic Development LP                  Metro Pointe Retail Associates II
Hendon FGV Center LLC                       Metroplex West Associates LP
Henesta Group LLC                           Mishorim Gold Jacksonville LP
Henry Real Estate LP                        MPH Associates LLC
Holderfield Properties Inc.                 MT San Antonio I LLC
HS CompUSA Center LLC                       NaperW LLC
Hulen Park Associates                       North Academy III LLC
ICA BFC Venture LLC                         Northeast Dallas Mall LLC
ICE Holdings LLC                            Northern Valley Indian Health Inc.
Inland Commercial Real Estate               Northway Mall Properties LLC
IRC Retail Centers Management Inc.          NV LLC
IVT Renaissance Center Durham I LLC         Oakdale Village LLC
Jennum Wellington Properties Inc.           Oakwood Business Park LLC
JPMCC 2005-LDP2 Dayton                      Oneida I LLC
Kancov Investment LP                        Ontario Gateway SJT Retail XVII LLC
Kennewick Associates LP                     Orange Grove Utilities Inc.
Kevorkian, Joan                             Otay Main Street LLC
Kimco                                       Ottawa Train Yards Inc.
Kite Realty Corp.                           Oval Properties 1901 Ltd.
Kite Realty Group                           Pagosa Partners III Ltd.
Lafayette Furniture Co. Inc.                Palladian - Valley View Blvd LLC
Layton Antelope LLC                         PAPF Dimond LLC



   KE 8967096
 Case 23-13131-CMG        Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45          Desc Main
                                Document    Page 74 of 102



Park Pointe Plaza Associates                 Spirit Realty
PDN Retail Center LP                         Spring Creek Improvements LLC
Peoria Rental Properties LLC                 Springfield Plaza LP
PGP Fayetteville LLC                         Springfield Square Central LP
Pierre Bossier Mall Realty Holding LLC       SSI Northside LLC
PK Clearwater Springs LLC                    Stratford City Shopping Centre No. 2
Plaza at Burr Corners LLC, The               Summerhill Square LLC
Post Hill LP                                 Sunil Madison LLC
Potomac Festival LLC                         SunMark Property LLC
PR North Dartmouth LLC                       Sunrise Promenade Associates
PREP Aurora Real Estate LLC                  SUSO 5 Riverdale LP
Preston Valley View Ltd.                     SVF University Westwood LLC
Principle Life Insurance Co.                 TCB Elston LLC
R46 Realty Associates LP                     TCSC LLC
Ramco Gershenson Properties LP               Telsec Property Corp.
Ramco Jacksonville LLC                       TKG Management
Ravines Strongsville I LLC                   TMC Eastgate LLC
RCG-Monroeville LLC                          Transandina Holdings LLC
RGR Star Plaza LP                            Transform Leasco
Ridgeline Inc.                               Truss Greenwood IN LLC
RioCan Real Estate Investment Trust          Tyler Broadway Centennial LP
Riverchase CC LP                             United Hampshire US Holdings LLC
Robinson Station LP                          Urban Edge Properties
ROF Macon LLC                                Urstadt Biddle
Roko Savannah (MGT) LLC                      USPG Portfolio Five LLC
RPAI Southwest Management LLC                Vestar Alderwood Parkway LLC
Rushmore Crossing Associates LLC             Villa View Ltd.
Sam's Property LLC                           VW Chenal Commons LLC
Sansone Group LLC                            Walart Management Co.
Sawgrass Mills LP                            Wallet, George L.
Schulte 2 Sycamore LLC                       Washington Prime
SCM FFA Fargo 1500 LLC                       Waterford Park North Associates LLC
Seritage SRC Finance LLC                     WCH LLC
Shops at Abilene LP                          West Broad Marketplace
Shops at Collins Square LLC, The             Westfield Mission Valley Square LP
Shops of Tupelo LLC, The                     Westridge Daniels LLC
Shops on Emerald LLC                         WH (Woodbridge) Ltd.
Simon                                        WIL-CPT Arlington Highlands 1 LP
Site Centers                                 William Roth Co.
Skyland Legacy LLC                           ZL Properties LLC
SM Eastland Mall LLC
Solar Holdings LLC
Sorich & Lasher
South Coast Management LLC
South Edmonton Common
Southtown Plaza Realty LLC



   KE 8967096
Case 23-13131-CMG     Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                            Document    Page 75 of 102



                                 SCHEDULE 1(j)
                                       Lenders

 Albacore Capital LLC
 Alter Domus (US) LLC
 Althilon Capital Corp. LLC
 Bank of America NA
 Boston Management & Research
 Cantor Fitzgerald Securities
 CION Investment Corp.
 Courage Credit Opportunities Fund
 Cowen Special Investments LLC
 CPPIB Credit Investments III Inc.
 Cross Sound Management LLC
 Eaton Vance Management
 Edgepoint Investment Group
 Ellington CLO Management LLC
 Fidelity
 Gordon Brothers Group LLC
 HG Vora Capital Management
 HSBC Bank plc
 JPMorgan Investment Management
 Merced Partners LP
 Nomura Corporate Research & Asset Management
 Oaktree Capital Management LP
 Petrus Yield Opportunity Fund
 Rimrock Capital Management LLC
 Trimaran Capital Partners
 UBS AG Stamford Branch
 Variable Insurance Products Fund
 Venture XX CLO Ltd.
 Whitebox Asymmetric Partners LP
 Whitebox Multi-Strategy Investment Group
 WhiteHorse
 WhiteHorse VII Ltd.
Case 23-13131-CMG     Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                            Document    Page 76 of 102



                                 SCHEDULE 1(k)
                                  Letters of Credit

 CIT Group Commercial Services
 Constellation NewEnergy Inc.
 Elavon Inc.
 Hanover Estates LLC
 Hartford Fire Insurance Co.
 Liberty Mutual Insurance Co.
 Travelers Indemnity Co.
Case 23-13131-CMG      Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                             Document    Page 77 of 102



                                    SCHEDULE 1(l)
                                     Litigation Parties

 Andrus Intellectual Property Law LLP
 Beverly Hills Trial Attorneys PC
 California, State of
 Capstone Law APC
 Dapeer Law PA
 Hansra Cardenas LLP
 Ironside Law Firm
 Locket IP LLC
 Morgan & Morgan PA
 Tianhai Lace USA Inc.
 Victoria's Secret Stores Brand Management LLC
Case 23-13131-CMG     Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                            Document    Page 78 of 102



                                 SCHEDULE 1(m)
                             Ordinary Course Professionals

 Alvarado Tax & Business Advisors LLC
 Berkeley Research Group LLC
 C Street Advisory Group LLC
 Cole Schotz PC
 Daniel Watney LLP
 Deloitte Tax LLP
 Douglas Allen Ltd.
 Gartner Inc.
 Global Tax Management Inc.
 Goodman Jones LLP
 Gowling WLG (Canada) LLP
 Gunster Yoakley & Stewart PA
 Gurstel Law Firm PC
 Houlihan Lokey Capital Inc.
 Jackson Lewis PC
 Matt Scott Law Firm PLLC
 Michael Best & Friedrich LLP
 Morgan Lewis & Bockius LLP
 Norton Rose Fulbright US LLP
 One Edje LLC
 Peake Law Group PC
 Reppert Kelly LLC
 Taft Stettinius & Hollister LLP
 TaxMatrix Technologies LLC
 Taylor Wessing LLP
 Visionary Financial Solutions Inc.
 Weil Gotshal & Manges LLP
 Wyatt Tarrant & Combs LLP
Case 23-13131-CMG      Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                             Document    Page 79 of 102



                                    SCHEDULE 1(n)
                                 Restructuring Professionals

 B. Riley Financial Inc.
 Deloitte Touche Tohmatsu Ltd.
 Greenberg Traurig LLP
 Katten Muchin Rosenman LLP
 Lowenstein Sandler LLP
 Morgan Lewis & Bockius LLP
 Omni Agent Solutions
 Osler Hoskin & Harcourt LLP
 Riemer & Braunstein LLP
 Weil Gotshal & Manges LLP
Case 23-13131-CMG     Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45          Desc Main
                            Document    Page 80 of 102



                                     SCHEDULE 1(o)
                                     Significant Vendors

 [24]7.Ai Inc.                                   Specialty Freight Services Inc.
 Adobe Systems Inc.                              Steven Madden Ltd.
 Affirm Inc.                                     TC Millwork Inc.
 Amazon Web Services Inc.                        Teksystems Inc.
 American Litho Inc.                             Unique Structures LLC
 Arthur J. Gallagher & Co.                       United Parcel Service
 Attentive Mobile Inc.                           Unlimited Residential & Commercial
 Bliss Designs Inc.                              Construction LLC
 Blueberry Technologies LLC                      UPS Canada
 BrandPoint                                      UPS Supply Chain Solutions Inc.
 Bridal Veil Co. Inc.
 Broadspire Services Inc.
 Bunzl Retail
 Ceridian
 CIT Group Commercial Services
 Computer Design & Integration LLC
 Ecova
 FacilitySource LLC
 FlyteVu Agency LLC
 France Lab Inc.
 Google Inc.
 Hartford Financial Service
 Haworth Marketing + Media LLC
 Icon International Inc.
 IntelliSource Inc.
 January Digital LLC
 JMJ Builders LLC
 KPMG LLC
 Kyndryl Inc.
 LivePerson
 Manhattan Associates
 Meta Platforms Inc.
 Microsoft Corp.
 Milberg Factors Inc.
 Moschini Productions Inc.
 Paypool LLC
 Pinterest Inc.
 R&M Richards
 Rhombus Services
 RingCentral Inc.
 Rosenthal & Rosenthal Inc.
 Royal Cyber Inc.
Case 23-13131-CMG      Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45           Desc Main
                             Document    Page 81 of 102



                                    SCHEDULE 1(p)
                              Government & Tax Authorities

 Ashwaubenon, Village of (WI)
 Baton Rouge, City of (LA)
 Birmingham, City of (AL) City Council
 Canada, Government of, Ministry of Finance
 Canada, Government of, Revenue Agency
 East Brunswick, City of (NJ), Fire Prevention
 Edmonton, City of (Canada)
 Elite Revenue Solutions LLC
 Hamilton, Township of (NJ)
 Henrico, County of (VA)
 Illinois Wholesale Cash
 Kentucky, Commonwealth of, State Treasurer
 Langley, City of (VA)
 Lopinto, Joseph, Sheriff
 Los Angeles, County of (CA), Agricultural Commission
 Manitoba, Province of (Canada), Department of Finance
 Maple Shade, Township of (NJ)
 Marksville, City of (LA)
 Massachusetts, Commonwealth of
 McAllen, City of (TX), Police Department
 Meridian, Charter Township (MI)
 Minnesota, State of, Revenue
 Monroeville, Municipality of (PA)
 Nevada, State of, Department of Taxation
 Nevada, State of, Treasurers' Office, Unclaimed Property
 New Hampshire, State of, Department of Revenue Administration
 New Jersey, State of
 New York, City of (NY), Department of Finance
 Newham, Borough of (London)
 North Carolina, State of, Department of Revenue
 North Dakota, State of, Workforce Safety & Insurance
 Oregon, State of, Department of Revenue
 Pennsylvania, Commonwealth of
 Robinson, Township of (PA)
 San Diego, City of (CA), Recorder/Countyclerk
 South Carolina, State of, Department of Revenue
 Springfield, Township of (PA)
 Tennesse, State of, Department of Revenue
 United States, Government of the, Department of Homeland Security, Customs & Border
      Protection
 Washington, State of, Department of Labor & Industries
 Watford, Borough Council of (UK)
Case 23-13131-CMG            Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                                   Document    Page 82 of 102



                                       SCHEDULE 1(q)
                         US Trustee Personnel and Bankruptcy Judges

 Alfaro, Adela
 Ardelean, Kirsten K.
 Arendas, Francyne D.
 Artis, Michael
 Bielskie, Lauren
 Clausen, Joanne E.
 D'Auria, Peter J.
 Dugan, Dianne P.
 Fuentes, Neidy
 Gerardi, David
 Green, Tia
 Hildebrandt, Martha
 Kern, Joseph C.
 Kropiewnicki, Daniel C.
 McGee, Maggie
 Nikolinos, Alexandra
 Oppelt, Tina L.
 Ortiz-Ng, Angeliza
 Schneider, Robert J., Jr.
 Shaarawy, Adam
 Sponder, Jeffrey
 Steele, Fran B.
 Stives, James
 Vara, Andrew R.
 Ziemer, William J.
 Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45           Desc Main
                               Document    Page 83 of 102



                                     SCHEDULE 1(r)
                                           Utilities

AES Indiana                                    College Station Utilities (TX)
AES Ohio Generation LLC                        Colorado Springs Utilities (CO)
Alabama Power Co.                              Columbia Gas of Kentucky Inc.
Alectra Utilities Corp.                        Columbia Gas of Maryland Inc.
Alliant Energy Corp.                           Columbia Gas of Ohio Inc.
Altamonte Springs, City of (FL)                Columbia Gas of Pennsylvania Inc.
Ameren Illinois Co.                            Columbia, City of (MO)
Ameren Missouri                                ComEd
American Electric Power Co. Inc.               ComfortSystems, a division of the City of
Appalachian Power Co.                              Duluth Public Works & Utilies Dept.
Aqua Pennsylvania Inc.                         ComTech 21
AT&T Inc.                                      Con Edison
AT&T Mobility LLC                              Connecticut Natural Gas Corp. (CNG)
Atlantic City Electric Co.                     Consolidated Communications Inc.
Atmos Energy Corp.                             Constellation NewEnergy Inc.
Austin, City of (TX)                           Consumers Energy Co.
Avista Utilities Inc.                          CoServ Gas Ltd.
Baltimore Gas & Electric Co.                   CPS Energy
Benton Public Utilities District (WA)          Danvers, Town of (MA), Electric Division
Black Hills Energy                             Delmarva Power & Light Co.
Bowling Green Municipal Utilities              Direct Energy Regulated Services
BrightRidge                                    Dixie Electric Cooperative Inc.
Brightspeed                                    Dominion Energy Inc.
British Columbia Hydro & Power Authority       Dominion Energy North Carolina
British Telecom                                Dominion Energy Ohio
Buford, City of (GA)                           Dominion Energy South Carolina
Burbank Water and Power                        Dominion VA Power
Business Stream Ltd.                           DTE Energy Co.
Cascade Natural Gas Corp.                      Duke Energy Corp.
Castle Water Ltd.                              Duquesne Light Co.
CenterPoint Energy Inc.                        Dynegy Energy Services LLC
CenterPoint Energy Minnegasco                  East Brunswick Water/Sewer Utilities
Central Georgia EMC                            Eastward Energy Inc.
Central Maine Power Co.                        Edge Communications LLC
Chattanooga Gas Co.                            El Paso Electric Co.
Chugach Electric Association Inc.              Enbridge Gas Inc.
Citizens Energy Group                          ENMAX Corp.
City Utilities of Springfield (MO)             Enstar
City Water & Light                             Entergy Arkansas Inc.
City Water Light & Power, Springfield IL       Entergy Gulf States LA LLC
Cleco Power LLC                                Entergy Louisiana Inc.
Cobb EMC                                       Entergy Mississippi Inc.
 Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45        Desc Main
                               Document    Page 84 of 102



Entergy Texas Inc.                          Met-Ed
EPB Ltd.                                    Metropolitan Utilities District
EPCOR Inc.                                  MidAmerican Energy Co.
Eugene Water & Electric Board, The (EWEB)   Middle Tennessee Electric Membership
Evergy                                      Minnesota Energy Resources
Evergy Kansas Central Inc.                  Minnesota Power
Eversource Energy                           Mishawaka, City of (IN)
Federal Realty Investment Trust             Modesto Irrigation District
Festival at Sawmill Centre                  Montana-Dakota Utilities Co.
Florida Power & Light Co.                   Mountaineer Gas
Fort Collins, City of (CO), Utilities       MTS Communications
FortisBC-Natural Gas                        Naperville, City of (IL)
Gainesville Regional Utilities              Nashville Electric Service
Georgia Power                               National Fuel Gas Co.
Grandbridge Energy Inc.                     National Grid plc
Granite Telecommunications Corp.            New Jersey Natural Gas Co.
Green Mountain Power Corp.                  New Mexico Gas Co.
Greenville Utilities Commission, NC         New York State Electric & Gas Corp.
Hawaiian Electric                           Nicor Gas
Hempstead, Town of (NY), Department of      Niles, City of (OH)
    Water                                   North Attleborough, City of (MA), Electric
Huntsville Utilities, AL                        Department
Hydro Ottawa                                North Shore Gas Co.
Idaho Power                                 Northern Indiana Public Service Co.
Illuminating Co., The                       NorthWestern Energy Development LLC
Indiana Michigan Power                      Nova Scotia Power Inc.
Intermountain Gas Co.                       NOVEC
JEA                                         NV Energy Inc.
Jersey Central Power & Light                NW Natural
JRA HHF Venture LLC                         Ohio Edison
Kansas Gas Service                          Oklahoma Gas & Electric Service
Kentucky Utilities Co.                      Oklahoma Natural Gas Co.
KUB-Knoxville Utilities Board               Omaha Public Power District (NE)
Lafayette Utilities Systems (LUS)           Orange & Rockland Utilities Inc.
LG&E - Louisville Gas & Electric            Orlando Utilities Commission
Liberty Utilities                           Pacific Gas & Electric Co.
Liberty Utilities Georgia                   Pacific Power-Rocky Mountain Power
Lincoln Electric System                     Pacific Telemanagement Services
London Hydro                                Paducah Power System
Los Angeles, City of (CA), Department of    Palm Beach, County of (FL), Water Utilities
    Water                                      Department
Lubbock, City of (TX), Utilities            Pearl River Valley EPA
Lumen Technologies                          PECO Energy Co.
Madison Gas & Electric, WI                  Penelec
Manitoba Hydro                              Pennsylvania American Water
Memphis Light, Gas & Water Division         Pensacola, City of (FL)



   KE 8967096
 Case 23-13131-CMG        Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45           Desc Main
                                Document    Page 85 of 102



Peoples Gas                                     Teco Tampa Electric Co.
Piedmont Natural Gas                            Texas Gas Service Co. Inc.
Pineville Electric & Telephone                  T-Mobile Ltd.
Portland General Electric Co.                   Toledo Edison Co., The
Potomac Edison                                  Tombigbee Electric Power Association
Potomac Electric Power Co.                      Tonawanda, Town of (NY)
PPL Electric Utilities                          Toronto Hydro-Electric System Ltd.
PSEG Long Island                                Tucson Electric Power Co.
Public Service Electric & Gas Co.               UGI Utilities Inc.
Puget Sound Energy                              United Illuminating Co.
Rhode Island Energy                             Unitil Corp.
Richmond, City of (VA)                          Velocity Accounts Receivable
Riverside, City of (CA), Public Utilities       Veolia Water New Jersey
Roanoke Gas Co.                                 Verizon Business Global LLC
Rochester Gas & Electric                        Verizon Communications Inc.
Rochester, City of (MN), Public Utilities       Verizon Wireless Services LLC
Rogers Wireless                                 Vermont Gas Systems Inc.
Roseville, City of (CA)                         Virginia Natural Gas Inc.
Sacramento Municipal Utility District (CA)      Washington Gas Resources Corp.
Salt River Project Agricultural Improvement &   WaterOne
    Power District (AZ)                         We Energies Foundation
San Diego Gas & Electric Co.                    Whitehall Township Authority (PA)
Santa Clara, City of (CA)                       Wisconsin Public Service Corp.
Scana Energy                                    Withlacoochee River Electric Cooperative Inc.
Scottish & Southern Energy Power Distribution   Wright-Hennepin Cooperative Electric
    Ltd.                                        Xcel Energy Inc
Shell Energy UK Ltd.
Snohomish County Public Utility District (WA)
South Jersey Gas Co.
Southern California Edison Co.
Southern California Gas Co.
Southern Connecticut Gas Co., The
Southern Maryland Electric Cooperative Inc.
Southwest Gas Holdings Inc.
Southwestern Bell Inc.
Southwestern Electric Power Co.
Spire Inc.
Springfield Plaza LLC
Stratford Utilities Ltd.
Summit Utilities Arkansas Inc.
Sunrise, City of (FL)
SVF University Westwood LLC
Tacoma, City of (WA), Public Utilities
Tallahassee, City of (FL)
Tampa, City of (FL), Utilities
TDS Telecom Service LLC



   KE 8967096
Case 23-13131-CMG      Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45      Desc Main
                             Document    Page 86 of 102



                                   SCHEDULE 2

                                     Name of Entity and/or Affiliate of
         Name of Entity Searched                                             Status
                                         Entity, that is a K&E Client
   3413 Tittabawassee Rd Leasing    Bilal Khan                               Former
                                    Blackstone Advisors India Pvt. Ltd.      Current
                                    Blackstone Alternative Asset             Closed
                                        Management LP
                                    Blackstone Alternative Credit Advisors   Current
                                        LP
                                    Blackstone Alternative Solutions LLC     Closed
                                    Blackstone Asia                          Current
                                    Blackstone Core Equity Partners          Closed
                                        (Cayman) L.P.
                                    Blackstone Energy Partners               Former
                                    Blackstone Family Real Estate            Closed
                                        Partnership (Offshore) VIISMD
                                        L.P.
                                    Blackstone Family Real Estate            Closed
                                        Partnership Europe IV-SMD L.P.
                                    Blackstone Group International           Closed
                                        Partners LLP, The
                                    Blackstone Group, The                    Former
                                    Blackstone Growth LP                     Current
                                    Blackstone Inc.                          Current
                                    Blackstone Infrastructure Partners LP    Current
                                    Blackstone ISG-I Advisors LLC            Closed
                                    Blackstone ISG-II Advisors LLC           Closed
                                    Blackstone Life Sciences Advisors        Current
                                        LLC
                                    Blackstone Management Partners LLC       Current
                                    Blackstone Mortgage Trust Inc.           Current
                                    Blackstone Property Partners Europe      Current
                                        Holdings SARL
                                    Blackstone Property Partners LP          Current
                                    Blackstone Real Estate Advisors          Closed
                                    Blackstone Real Estate Advisors LP       Closed
                                    Blackstone Real Estate Holdings          Closed
                                        (Offshore) VII-NQ L.P.
                                    Blackstone Real Estate Holdings          Closed
                                        (Offshore) Vll-NQ - ESC L.P.



 KE 8967096
Case 23-13131-CMG      Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45     Desc Main
                             Document    Page 87 of 102



                                     Name of Entity and/or Affiliate of
         Name of Entity Searched                                            Status
                                        Entity, that is a K&E Client
                                    Blackstone Real Estate Holdings         Closed
                                       Europe IV-NQ ESC L.P.
                                    Blackstone Real Estate Income Trust     Current
                                       Inc.
                                    Blackstone Real Estate Investment       Current
                                       Trust
                                    Blackstone Real Estate Partners         Current
                                    Blackstone Real Estate Partners         Closed
                                       (Offshore) Vll.F-NQ L.P.
                                    Blackstone Real Estate Partners         Closed
                                       (Offshore) Vll.TE.1-8-NQ L.P.
                                    Blackstone Real Estate Partners         Closed
                                       (Offshore) Vll-NQ L.P.
                                    Blackstone Real Estate Partners         Closed
                                       Europe IV-NQ L.P.
                                    Blackstone Real Estate Partners         Current
                                       Europe VII
                                    Blackstone Real Estate Partners         Closed
                                       Limited
                                    Blackstone Singapore Pte. Ltd.          Current
                                    Blackstone Strategic Capital Holdings   Current
                                       LP
                                    Blackstone Strategic Opportunity Fund   Current
                                    Blackstone Strategic Partners           Former
                                    Blackstone Tactical Opportunities       Current
                                       Advisors LLC
                                    Blackstone Tactical Opportunities       Current
                                       Fund LP
                                    BPP Parker Towers Property Owner        Current
                                       LLC
                                    BRE Atlas Property Owner LLC            Current
                                    BRE Newton Hotels Property Owner        Current
                                       LLC
                                    BRE Polygon Property Owner LLC          Current
                                    BRE SH Brisbane Owner LLC               Current
                                    BRE SSP Property Owner LLC              Current
                                    BRE SSP Thousand Oaks LLC               Current
                                    BX CQP Target Holdco LLC                Current
                                    Clarus Ventures LLC                     Current
                                    David I. Foley                          Current
                                          2
 KE 8967096
Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45      Desc Main
                              Document    Page 88 of 102



                                         Name of Entity and/or Affiliate of
         Name of Entity Searched                                              Status
                                            Entity, that is a K&E Client
                                       GSO Capital Partners                   Closed
                                       GSO Capital Partners LP                Closed
                                       Khan, Bilal                            Current
                                       Kush Patel                             Current
                                       Prakash A. Melwani                     Current
                                       Strategic Partners Fund Solutions      Closed
                                       The Blackstone Group International     Current
                                           Partners LLP
                                       Vikram Suresh                          Current
   AES Indiana                         The AES Clean Energy Development,      Current
                                           LLC
   AES Ohio Generation LLC
   AIG                                 AIG DECO Fund I LP                     Current
   AIG Specialty Insurance             National Union Fire Insurance          Current
                                          Company of Pittsburgh, PA
   AIG Specialty Insurance Co.
   National Union Fire Insurance Co.
      of Pittsburgh (PA)
   Albacore Capital LLC                Albacore Capital LLP                   Current
   Amazon Web Services Inc.            Zoox Labs, Inc.                        Current
   Ascot Group Ltd.                    Canada Pension Plan Investment Board   Current
   Canada Pension Plan Investment      CPP Investment Board                   Current
      Board, The
   CPPIB Credit Investments III Inc.   CPPB Canada Inc.                       Closed
                                       CPPIB Asia Inc.                        Current
                                       CPPIB Canada Inc.                      Current
                                       LoanCore Capital, LLC                  Current
   AT&T Inc.                           AT&T Corp.                             Current
   AT&T Mobility LLC                   AT&T Inc.                              Current
   Southwestern Bell Inc.              AT&T Services, Inc.                    Current
                                       Be Sunshine, LLC                       Current
                                       Comcast Cable Communications           Closed
                                            Management LLC
                                       DIRECTV, LLC                           Former
                                       Illinois Bell Telephone Co. LLC        Current
   Atlantic City Electric Co.          Commonwealth Edison Co.                Closed
   Baltimore Gas & Electric Co.        Exelon Corporation                     Former
   ComEd                               William A. Von Hoene, Jr.              Current

                                             3
 KE 8967096
Case 23-13131-CMG        Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45      Desc Main
                               Document    Page 89 of 102



                                        Name of Entity and/or Affiliate of
         Name of Entity Searched                                               Status
                                          Entity, that is a K&E Client
   Delmarva Power & Light Co.
   AXA Insurance UK plc               AXA Real Estate Investment Managers      Former
                                          UK Ltd.
                                      AXA REIM SGP                             Current
                                      XL Global Services, Inc.                 Closed
   B. Riley Financial Inc.            B. Riley FBR, Inc.                       Current
                                      B. Riley Real Estate LLC                 Current
   Bank of America NA                 Banc of America Securities LLC           Current
                                      Bank of America Corp.                    Current
                                      Bank of America Merrill Lynch            Closed
                                      Bank of America Securities Ltd.          Former
                                      Benjamin Klein                           Current
                                      BofA Securities Inc.                     Current
                                      Graham Mandl                             Current
                                      Merrill Lynch (Asia Pacific) Limited     Closed
   Barclays                           Barclays Capital Inc.                    Current
                                      Barclays Securities Inc.                 Current
   BBP Partners LLC                   BPP ST Owner LLC                         Current
   Brookfield Properties              BPR REIT Services LLC                    Current
   Oaktree                            Brookfield Asset Management Inc.         Closed
   Oaktree Capital Management LP      Brookfield Asset Management, LLC         Current
                                      Brookfield Business Partners LP          Closed
                                      Brookfield Capital Partners Ltd.         Closed
                                      Brookfield Infrastructure Debt Fund II   Current
                                          LP
                                      Brookfield Properties Development        Current
                                          LLC
                                      Brookfield Renewable Partners LP         Current
                                      Brookfield Special Investments LLC       Current
                                      GFI Energy Group of Oaktree Capital      Current
                                          Management
                                      Jordon Kruse                             Current
                                      Matthew Wilson                           Current
                                      Oaktree Acquisition Corp. II             Current
                                      Oaktree ATI Investors LP                 Current
                                      Oaktree Capital Management LP            Current
                                      Oaktree Lending Partners Corporation     Current



                                            4
 KE 8967096
Case 23-13131-CMG      Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45      Desc Main
                             Document    Page 90 of 102



                                     Name of Entity and/or Affiliate of
         Name of Entity Searched                                             Status
                                         Entity, that is a K&E Client
                                    Oaktree Maritime Finance Holdings XI     Closed
                                       Ltd.
                                    Oaktree Maritime Finance II, LLC         Closed
                                    Oaktree Middle-Market Direct             Closed
                                       Lending Unlevered JPN-A 2017
                                       Fund, L.P
                                    Oaktree Opportunities Fund XI Feeder     Current
                                       (Cayman) LP
                                    Oaktree Power Opportunities Fund IV      Current
                                       (Parallel) LP
                                    Oaktree Power Opportunities Fund IV      Current
                                       LP
                                    Oaktree Specialty Lending Corporation    Current
                                    Oaktree Strategic Credit                 Closed
                                    Ronald N. Beck                           Former
   Bentall Green Oak Canada LP      Crescent Capital Group, LP               Current
                                    SLC Management                           Current
                                    TFG Asset Management LP                  Current
   Berkley Professional Liability   W.R. Berkley Corporation                 Closed
   Boston Management & Research     AMLI/BPMT Towne Square                   Current
                                       Partnership
   Eaton Vance                      Morgan Stanley                           Current
   Eaton Vance Management           Morgan Stanley & Co. LLC                 Closed
                                    Morgan Stanley Asia Limited              Current
                                    Morgan Stanley Infrastructure Inc.       Current
                                    Morgan Stanley Infrastructure Partners   Current
                                    Morgan Stanley Investment                Current
                                       Management Limited
                                    Morgan Stanley Real Estate Investing     Current
                                    Morgan, Stanley & Co.                    Current
                                    Prime Property Fund                      Closed
   Brightspeed                      AEPF III 34 S.à r.l.                     Closed
                                    Apollo Capital Management, L.P.          Current
                                    Apollo Global Management, Inc.           Current
                                    Apollo Global Real Estate                Current
                                       Management LP
                                    Marc Rowan                               Current
   C Street Advisory Group LLC      C Street Advisory Group LLC              Current


                                          5
 KE 8967096
Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45       Desc Main
                              Document    Page 91 of 102



                                       Name of Entity and/or Affiliate of
         Name of Entity Searched                                               Status
                                           Entity, that is a K&E Client
                                      C Street Advisory Group Management       Current
                                         LLC
   CenterPoint Energy Inc.            CenterPoint Energy, Inc.                 Current
   CenterPoint Energy Minnegasco
   Chubb                              Chubb Bermuda Insurance Ltd.             Current
   Chubb ACE American Insurance
      Co.
   Chubb Group of Insurance Cos.
   CIGNA                              Cigna Corporation                        Closed
                                      Cigna Health and Life Insurance Co.      Closed
   CION Investment Corp.              CION Ares Diversified Credit Fund        Current
   Cleco Power LLC                    Cleco Corporate Holdings LLC             Current
   Cole Schotz PC                     Cole Schotz P.C.                         Closed
   Computer Design & Integration      James B. Cherry                          Current
      LLC
                                      OEP Capital Advisors LP                  Current
                                      OEP VIII General Partner LP              Current
                                      One Equity Partners                      Current
                                      One Equity Partners VIII LP              Current
                                      One Equity Partners VIII-A LP            Current
   Constellation NewEnergy Inc.       Constellation Energy Corporation &       Current
                                         Various of its affiliates
   Continental Casualty Co.           Celanese International Corp.             Current
                                      CNA Holdings LLC                         Closed
                                      Continental Casualty Company             Current
                                      Kevin Leidwinger                         Former
   Del Amo Fashion Center Operating   Taubman Centers, Inc., Independent       Closed
      Co. LLC                            Directors of the Board of Directors
   Deloitte Tax LLP                   Deloitte Consulting LLP                  Current
   Deloitte Touche Tohmatsu Ltd.      Deloitte LLP                             Current
                                      Deloitte Tax LLP                         Current
                                      Deloitte USA LLP                         Current
   Dominion Energy Inc.               Dominion Energy Services, Inc.           Closed
   Dominion Energy North Carolina
   Dominion Energy Ohio
   Dominion Energy South Carolina
   Dominion VA Power


                                            6
 KE 8967096
Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45    Desc Main
                              Document    Page 92 of 102



                                       Name of Entity and/or Affiliate of
         Name of Entity Searched                                            Status
                                          Entity, that is a K&E Client
   DTE Energy Co.                    DTE Energy Company                     Current
   Dynegy Energy Services LLC        Vistra Energy Corp.                    Current
   Eastward Energy Inc.              Big Box REIT A Inc.                    Current
                                     Public Sector Pension Investment       Current
                                         Board
   FacilitySource LLC                CBRE Caledon Capital Management        Closed
                                     CBRE Global Investors, Inc.            Closed
                                     CBRE SPA                               Current
                                     CBRE SpA Italy                         Current
                                     CBRE, Inc.                             Current
   Fidelity                          Fidelity Investments                   Current
   Fireman's Fund Insurance Co.      Allianz Capital Partners GmbH          Closed
                                     Pacific Investment Management          Current
                                         Company, LLC
   First Horizon Bank                First Horizon Home Loan Corp.          Closed
                                     First Horizon National Corporation     Closed
                                     First Tennessee Bank National          Closed
                                         Association
   Florida Power & Light Co.         NextEra Energy Capital Holdings Inc.   Current
                                     NextEra Energy Constructors LLC        Former
                                     NextEra Energy Inc.                    Former
                                     NextEra Energy Marketing LLC           Former
                                     NextEra Energy Operating Services      Former
                                         LLC
                                     NextEra Energy Project Management      Former
                                         LLC
                                     NextEra Energy Resources LLC           Current
                                     NextEra Energy Resources, LLC          Current
                                     NextEra Energy Transmission Asset      Current
                                         Acquisition Holdings LLC
                                     NextEra Energy Transmission LLC        Current
                                     NextEra Energy Transmission            Former
                                         Southwest LLC
                                     NextEra Energy, Inc.                   Current
                                     NextEra Grid Holdings LLC              Current
   Google Inc.                       Fitbit Inc.                            Closed
                                     Waymo LLC                              Current
   Gordon Brothers Group LLC         Gordon Brothers Brands, LLC            Current

                                           7
 KE 8967096
Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45       Desc Main
                              Document    Page 93 of 102



                                       Name of Entity and/or Affiliate of
         Name of Entity Searched                                               Status
                                          Entity, that is a K&E Client
                                     Gordon Brothers Partners Inc.             Closed
   Green Mountain Power Corp.        Caisse de dépôt et placement du           Current
                                         Québec
   Vermont Gas Systems Inc.          Énergir, L.P.                             Current
                                     Ivanhoé Cambridge Inc.                    Current
   HG Vora Capital Management        HG Vora Capital Management LLC            Closed
   Houlihan Lokey Capital Inc.       Houlihan Lokey EMEA, LLP                  Closed
   HSBC Bank plc                     HSBC Global Services (UK) Limited         Current
                                     HSBC Holdings plc                         Current
   IntelliSource Inc.                Capgemini SE                              Former
   JPMorgan Chase Bank               Andrew Cohen                              Current
   Summit Utilities Arkansas Inc.    Highbridge Capital Management, LLC        Current
                                     J.P. Morgan AG                            Closed
                                     J.P. Morgan Securities Asia Pacific       Former
                                         Limited
                                     J.P. Morgan Securities LLC                Current
                                     JPMorgan Asset Management                 Closed
                                         (Australia) Limited
                                     JPMorgan Asset Management                 Current
                                         (Europe) SARL
                                     JPMorgan Asset Management (UK)            Current
                                         Ltd.
                                     JPMorgan Chase & Co.                      Closed
                                     JPMorgan Chase Bank National              Closed
                                         Association
                                     JPMorgan Chase Bank NA                    Former
                                     JPMorgan Funds Limited                    Current
                                     JPMorgan Investment Management            Current
                                         Inc. - Global Special Situations
                                     JPMorgan Investment Management            Current
                                        Inc. - Infrastructure Investment
                                        Group
                                     JPMorgan Investment Management            Current
                                        Inc. - Life Sciences Private Capital

                                     JPMorgan Infrastructure Investments       Current
                                        Fund
                                     JPMorgan Securities LLC                   Closed


                                           8
 KE 8967096
Case 23-13131-CMG      Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45     Desc Main
                             Document    Page 94 of 102



                                       Name of Entity and/or Affiliate of
         Name of Entity Searched                                            Status
                                          Entity, that is a K&E Client
                                      Kerwin Clayton                        Former
                                      Summit Utilities Inc.                 Former
   Kentucky Utilities Co.             LG&E and KU Energy LLC                Current
   LG&E - Louisville Gas & Electric
   PPL Electric Utilities
   Rhode Island Energy
   KPMG LLC                           KPMG (HK)                             Current
                                      KPMG Auditores, S.L.                  Closed
                                      KPMG International Cooperative        Closed
                                      KPMG International Ltd.               Current
                                      KPMG International Services Ltd.      Current
                                      KPMG Law Firm                         Current
                                      KPMG LLP                              Current
                                      KPMG LLP (Canada)                     Current
                                      KPMG LLP (Singapore)                  Current
   Kyndryl Inc.                       Kyndryl Inc.                          Current
   Limestone Millenia Plaza LLC       Orion Investors SARL                  Former
   LivePerson                         LivePerson (UK) Limited               Current
                                      LivePerson Australia Holdings Pty     Current
                                         Ltd.
                                      LivePerson Australia Pty Ltd.         Current
                                      LivePerson France SARL                Current
                                      LivePerson Germany GmbH               Current
                                      LivePerson Italy SRL                  Current
                                      LivePerson Japan K.K.                 Current
                                      LivePerson LLC                        Current
                                      LivePerson Ltd.                       Current
                                      LivePerson Netherlands B.V.           Current
                                      LivePerson Singapore Pte. Ltd.        Current
                                      LivePerson, Inc.                      Current
   Lloyd's of London                  Lloyd's America, Inc.                 Closed
   Lund Co.                           Cushman & Wakefield, Inc.             Current
   Transandina Holdings LLC
   Mercer                             Oliver Wyman Inc.                     Current
   Meta Platforms Inc.                Meta Platforms, Inc.                  Current
   MidAmerican Energy Co.             Berkshire Hathaway Inc.               Current
   NV Energy                          BHE Renewables, LLC                   Current


                                            9
 KE 8967096
Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45      Desc Main
                              Document    Page 95 of 102



                                        Name of Entity and/or Affiliate of
         Name of Entity Searched                                              Status
                                          Entity, that is a K&E Client
   Pacific Power-Rocky Mountain        BHER Power Resources Inc.              Current
      Power
                                       BNSF Railway                           Current
                                       Brilliant National Services, Inc.      Current
                                       FlightSafety International Inc.        Current
   Minnesota, State of, Revenue        Minnesota Department of Human          Current
                                           Rights
                                       Minnesota, State of, Office of the     Current
                                           Attorney General
   National Fuel Gas Co.               National Fuel Gas Company              Closed
                                       National Fuel Gas Midstream LLC        Closed
   OptumRX PBM of IL Inc.              USHealth Group, Inc.                   Current
   Paypal                              PayPal Holdings Inc.                   Current
                                       PayPal Inc.                            Current
   Pennsylvania, Commonwealth of       Office of the General Counsel of       Current
                                          Pennsylvania
                                       Office of the Governor of              Current
                                          Pennsylvania
                                       Office of the Secretary of State of    Current
                                          Pennsylvania
                                       Pennsylvania, Commonwealth of,         Closed
                                          Office of the Secretary
   Petrus Asset Management             Hillwood Development Company,          Closed
                                           LLC
   PG&E                                Pacific Gas and Electric Company       Current
   PNC Bank                            The PNC Financial Services Group,      Closed
                                           Inc.
   Principle Life Insurance Co.        Principal Real Estate Investors LLC    Current
   PSEG Long Island                    Public Service Enterprise Group Inc.   Current
   Public Service Electric & Gas Co.
   Quantum Health Inc.                 Great Hill Advisors LLC                Current
                                       Great Hill Investment Holdings LP      Current
                                       Great Hill Management Holdings LP      Current
                                       Mark D. Taber                          Current
                                       Michael A. Kumin                       Current
                                       Quantum Health, Inc.                   Current
   Starr Marine (CAN)                  Starr Principal Holdings, LLC          Closed
   Starr Marine (UK)


                                            10
 KE 8967096
Case 23-13131-CMG       Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45     Desc Main
                              Document    Page 96 of 102



                                       Name of Entity and/or Affiliate of
         Name of Entity Searched                                             Status
                                         Entity, that is a K&E Client
   Starr Marine (US)
   TD Canada Trust                   TD Securities Inc.                      Current
   Travelers Indemnity Co.           The Travelers Companies, Inc.           Current
   Travelers Property Casualty Co.
   Trustmark National Bank           Trustmark                               Current
   UBS AG Stamford Branch            Seema Khanna                            Former
                                     UBS AG, Board of Directors              Current
                                     UBS AG, Hong Kong Branch                Closed
                                     UBS AG, London Branch                   Current
                                     UBS Asset Management (Americas)         Current
                                        Inc.
                                     UBS Asset Management Funds              Current
                                        Limited
                                     UBS Hedge Fund Solutions LLC            Current
                                     UBS International Infrastructure Fund   Former
                                        II (A) LP
                                     UBS International Infrastructure Fund   Former
                                        II (B) LP
                                     UBS International Infrastructure Fund   Former
                                        II (C) LP
                                     UBS Investment Bank                     Current
                                     UBS O'Connor LLC                        Current
                                     UBS Securities Hong Kong Ltd.           Closed
                                     UBS Securities LLC                      Current
                                     UBS Warburg                             Current
   Verizon Business Global LLC       Verizon Communications Inc.             Current
   Verizon Communications Inc.
   Verizon Wireless Services LLC
   Victoria's Secret Stores Brand    Victoria’s Secret & Co.                 Current
      Management LLC
                                     VS Service Co. LLC                      Current
   Washington Gas Resources Corp.    WGL Holdings, Inc.                      Closed
   Washington Prime                  Washington Prime Group Inc.             Current
   Wells Fargo & Co.                 Norwest Equity Partners                 Current
                                     Wells Fargo Asset Management            Current
                                        Luxembourg S.A.
                                     Wells Fargo Bank, N.A.                  Current
                                     Wells Fargo Securities LLC              Current

                                          11
 KE 8967096
Case 23-13131-CMG        Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45      Desc Main
                               Document    Page 97 of 102



                                       Name of Entity and/or Affiliate of
         Name of Entity Searched                                               Status
                                          Entity, that is a K&E Client
   Whitebox Asymmetric Partners LP    Whitebox Advisors LLC                    Current
   Whitebox Multi-Strategy
     Investment Group
   WhiteHorse                         H.I.G. Acquisition Corp.                 Closed
   WhiteHorse VII Ltd.                H.I.G. Advantage Buyout Fund, L.P.       Closed
                                      H.I.G. Bayside Debt & LBO Fund II        Closed
                                          LP
                                      H.I.G. Bayside Loan Opportunity          Current
                                          (Cayman) Fund II, L.P.
                                      H.I.G. Bayside Loan Opportunity Fund     Current
                                          II, L.P.
                                      H.I.G. Capital International Advisors,   Closed
                                          LLP
                                      H.I.G. Capital Management Inc.           Current
                                      H.I.G. Capital Partners II, L.P.         Current
                                      H.I.G. Capital Partners III, L.P.        Current
                                      H.I.G. Europe Capital Partners, L.P.     Current
                                      H.I.G. Europe Middle Market LBO          Closed
                                          Fund LP
                                      H.I.G. European Capital Partners LLP     Current
                                      H.I.G. Middle Market LBO Fund III,       Closed
                                          L.P.
                                      H.I.G. Middle Market LLC                 Current
                                      H.I.G. Realty Partners                   Current
                                      H.I.G. Technology Partners A.L.P.        Current
                                      H.I.G. Venture Investments, L.P.         Current
                                      H.I.G. Venture Partners, L.P.            Current
                                      Whitehorse Liquidity Partners            Current
                                      Whitehorse Liquidity Partners V LP       Current




                                           12
 KE 8967096
Case 23-13131-CMG   Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45   Desc Main
                          Document    Page 98 of 102




                                  EXHIBIT C

                              Marcum Declaration
Case 23-13131-CMG             Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                             Desc Main
                                    Document    Page 99 of 102




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEW JERSEY


 In re:                                                       Chapter 11

 DAVID’S BRIDAL, LLC, et al.,1                                Case No. 23-13131 (CMG)

                                    Debtors.                  (Jointly Administered)


              DECLARATION OF JAMES MARCUM IN SUPPORT
         OF THE DEBTOR’S APPLICATION FOR THE ENTRY OF AN ORDER
      AUTHORIZING THE RETENTION AND EMPLOYMENT OF KIRKLAND &
 ELLIS LLP AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR
 THE DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF APRIL 17, 2023

          I, James Marcum, Chief Executive Officer of David’s Bridal, LLC and its affiliated debtors

 and debtors in possession (collectively, the “Debtors”) being duly sworn, state the following under

 penalty of perjury:

          1.     I am the Chief Executive Officer of the Debtors, with their principal place of business

 located at 1001 Washington Street, Conshohocken, Pennsylvania, 19428.

          2.     I submit this declaration (this “Declaration”) in support of the Debtors’ Application

 for Entry of an Order Authorizing the Retention and Employment of Kirkland & Ellis LLP as

 Attorneys for the Debtors and Debtors in Possession Effective as of April 17, 2023

 (the “Application”).2 Except as otherwise noted, I have personal knowledge of the matters set

 forth herein.




 1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are David’s Bridal, LLC (4563); DBI Midco, Inc. (7392); DBI Holdco II, Inc. (7512); DBI Investors,
     Inc. (3857); David’s Bridal Canada, Inc. (N/A); Blueprint Registry, LLC (2335). The location of Debtor David’s
     Bridal, LLC’s service address in these chapter 11 cases is 1001 Washington Street, Conshohocken, Pennsylvania
     19428.
 2   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.
Case 23-13131-CMG         Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                 Desc Main
                               Document     Page 100 of 102



                                The Debtors’ Selection of Counsel

        60.     The Debtors recognize that a comprehensive review process is necessary when

 selecting and managing chapter 11 counsel to ensure that bankruptcy professionals are subject to

 the same client-driven market forces, scrutiny, and accountability as professionals in

 non-bankruptcy engagements.

        61.     Prior to the Petition Date, Kirkland represented the Debtors in various debt

 financing transactions and is familiar with the Debtors’ business operations and corporate

 structure. Ultimately, the Debtors retained Kirkland because of its extensive experience in

 corporate reorganizations, both out-of-court and under chapter 11 of the Bankruptcy Code. More

 specifically, Kirkland is familiar with the Debtors’ business operations and many of the potential

 legal issues that may arise in the context of these chapter 11 cases. I believe that Kirkland is both

 well qualified and uniquely able to represent the Debtor in these chapter 11 cases in an efficient

 and timely manner.

                                           Rate Structure

        62.     In my capacity as Chief Executive Officer, I am responsible for supervising outside

 counsel retained by the Debtors in the ordinary course of business. Kirkland has informed the

 Debtors that its rates for bankruptcy representations are comparable to the rates Kirkland charges

 for non-bankruptcy representations. As discussed below, I am also responsible for reviewing the

 statements regularly submitted by Kirkland, and can confirm that the rates Kirkland charged the

 Debtors in the prepetition period are the same as the rates Kirkland will charge the Debtors in the

 postpetition period.




                                                  2
Case 23-13131-CMG          Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                   Desc Main
                                Document     Page 101 of 102



                                           Cost Supervision

         63.     The Debtors have approved the prospective budget and staffing plan for the period

 from April 17, 2023 to July 31, 2023, recognizing that in the course of a large chapter 11 case like

 these chapter 11 cases, it is possible that there may be a number of unforeseen fees and expenses

 that will need to be addressed by the Debtors and Kirkland. The Debtors further recognize that it

 is their responsibility to monitor closely the billing practices of their counsel to ensure the fees and

 expenses paid by the estate remain consistent with the Debtors’ expectations and the exigencies of

 the chapter 11 cases. The Debtors will continue to review the statements that Kirkland regularly

 submits, and, together with Kirkland, amend the budget and staffing plans periodically, as the case

 develops.

         64.     As they did prepetition, the Debtors will continue to bring discipline, predictability,

 client involvement, and accountability to the counsel fees and expenses reimbursement process.

 While every chapter 11 case is unique, these budgets will provide guidance on the periods of time

 involved the level of the attorneys and professionals that will work on various matters, and

 projections of average hourly rates for the attorneys and professionals for various matters.



                                [Remainder of Page Intentionally Left Blank]




                                                    3
Case 23-13131-CMG        Doc 226 Filed 05/16/23 Entered 05/16/23 18:34:45                Desc Main
                              Document     Page 102 of 102



        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my knowledge and belief.

  Dated: May 16, 2023                                Respectfully submitted,

                                                  /s/ James Marcum
                                                 Name: James Marcum
                                                 Title: Chief Executive Officer




                                                 4
